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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                   IN THE UNITED STATES DISTRICT COURT              September 04, 2024
                    FOR THE SOUTHERN DISTRICT OF TEXAS               Nathan Ochsner, Clerk
                             HOUSTON DIVISION

BRIAN EDWARD DAVIS,                     §
                                        §
                   Petitioner,          §
                                        §
v.                                      §        CIVIL ACTION NO. H-16-1867
                                        §
BOBBY LUMPKIN, Director,                §
Texas Department of Criminal            §
Justice - Correctional                  §
Institutions Division,                  §
                                        §
                   Respondent.          §


                       MEMORANDUM OPINION AND ORDER

             petitioner, Texas death-row inmate Brian Edward Davis,
init         this federal habeas corpus action in 2016.           Davis filed

a Death Penalty Case Application for Post-Conviction Writ of Habeas
Corpus in 2020 ("Petition").        After extensive litigation, this case

is before the court on Director Bobby Lumpkin of the Texas
Department of Criminal Justice-Correctional Institutions Division's

Second Amended Answer with Brief in Support ("Answer").                     After
considering the pleadings, the record, and the applicable law, the
court will deny Davis's petition and dismiss this action for the

reasons explained below.


                  I.   Factual and Procedural Background

        On August 13, 1991, a neighbor found Michael Alan Foster dead
in his apartment.             State of Texas indicted Davis for capital

murder.      The indictment accused Foster of intentionally                   ling
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Foster on or about August 10, 1991, during a robbery. 1                 Davis stood

trial in the 230th Distr             Court of Harris County, Texas, with the

Honorable Judge Joe Kegans presiding.                A jury convicted Davis of

capital murder on June 11, 1992, and he was sentenced to death on

June 16, 1992.

                extensive post-trial proceedings in both state and

federal court,          the Texas Court of Criminal Appeals set aside

Davis's death sentence in 2009.                In 2011, the State of Texas held

a punishment-only retr            1 with the Honorable Judge Belinda Hill

presiding.       Davis was        in sentenced to death on March 9, 2011.

       A     detailed    review   of     the    factual    background     and   legal

proceedings provides important context to Davis's federal habeas

claims.



A.      The State's Case for Gui1t

        On August 10, 1991, Michael Alan Foster went to the                 k 'N Pak

bar     in    Houston    to   hear   a   band     perform.      Foster,    who    was

intellectually disabled, lived by himself.                   That same night, the

owner of Pik 'N Pak saw Davis and his wi                  , Tina Louise McDonald,


1
 C   k's Record [1992], Docket Entry No. 32-1 at 8. For purposes
of identification all page numbers reference the pagination of each
docket entry in the court's electronic case filing ("ECF n ) system.
The record contains material from both Davis's initial trial
proceedings in 1992 and the retrial of his guilt in 2011.       When
necessary to avoid confusion, the court will include the date of
his t   1 or resentencing in brackets when citing the records.

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arguing inside the bar.     Davis was dress       in a way that revealed

the large swastika tattoo on his chest.           owner twice warned the
couple that they would be kicked out if they did not quit arguing.
         r he closed the bar, the owner saw Davis and McDonald
arguing again.   Eventually, the owner saw Foster get into a car and
leave with the coup            owner was surprised; he knew Foster did
not associate with people like Davis and McDonald.

      On Tuesday, August 13, 1991, one         Foster's friends who had
not seen him in a few days went inside his apartment. Foster's

usually tidy apartment was in disarray.           The friend called the
pol    after finding Foster laying on the ground, covered            blood,
with a pillow on his head.           Foster was partially undressed.
Someone had written white supremacist symbols on his body and on
the apartment walls.
      An autopsy reveal      that Foster had been dead for at least
several hours when he was found.      Foster had suffered numerous stab
wounds, including to his neck, abdomen, chest, and back.
          police    had   little   information    to proceed     with      the
investigation.     The police knew that a black leather jacket and
double-edged knife were missing from Foster's apartment.                   The
police found promotional flyers on Foster's body advertising
concerts at local bars.          Still,   nothing at the crime scene
indicated who had killed Foster.
      The police invest      ion led to the club Foster had visited.


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The owner of the Pik       'N Pak club provided the police with a
description of the people Foster left with on August 10.         With that
description, the police sought information from members of the
skinhead community, which ultimately led them to McDonald.
     By that point, both Davis and McDonald were already in police
custody for an unrelated crime.          The bar owner later identified
Davis and McDonald as the couple with whom Foster left.         The police

recovered iterns in McDonald's car which had been taken from
Foster's apartment such as his jacket and knife.
     With evidence connecting McDonald to the murder, the police
interviewed her in jail a total of four times.                 The police
repeatedly told McDonald that all the evidence pointed to her as

the killer.    During this time, McDonald occasionally spoke with
Davis, who was also still in custody, on the phone.
     Police officers first approached Davis in jail to speak about

the murder on September 10.     The police ceased all questioning when

Davis asked to speak to the attorney appointed on his unrelated
charge.
     Police officers obtained hair samples from Davis and McDonald,
which they used for comparison with crime scene evidence.                  The

police did not ask them any questions about the murder during that
interaction.     The police obtained a handwriting samp le from
McDonald in late October.       On November 12, the police secured a
blood sample from her.


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        On November 21,      1991,    Davis asked to speak with police
officers.       Davis told a police detective that "he was willing to
confess to this crime in exchange for immunity for Tina McDonald." 2

Davis also wanted a trans            r to a different part of the jail
facil     y.    The pol       detective told Davis that he could not
promise anything, but that he would convey Davis's request to an
assistant district attorney. 3 Davis then went before a state judge
who informed Davis of his rights.             Davis waived his rights
court.
        Pol     officers conducted a videotaped          errogation with an
assistant district attorney present.               The assistant district

attorney told Davis that "the State was not making any deals or
agreements with him, that Tina McDonald would be prosecuted if the
evidence supported it, and that [Davis] did not have to make a
statement." 4     A police detective then again advised Davis of his
rights, and he again waived them.
        Davis gave an hour-and-twenty-minute-long videotaped statement
confessing to the murder. 5          Davis explained that he and McDonald

2
 Supplemental Clerk's Record [1992],       Findings of Fact and
Conclusions of Law Concerning the Voluntariness and Admissibility
of the Defendant's Videotaped Oral Confession, Docket Entry No. 32-
3 at 4.
3


4
    Id. at 5.
5
    See Post Conviction Writ State's Writ Exhibit A, Transcript of
                                                     (continued ... )

                                       -5-
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met Foster for the first time at a bar on the night of the murder.

They gave Foster a ride home in return for gas money.                    s had

been drinking heavily. 6       As they drove, Davis grew angry "by the

way [Foster] was acting toward" McDonald. 7          Davis said: "I wasn't

for sure what I was going to do[,] you know.               I didn't have it

really planned to[,] you know[,] to kill             guy         [but] I knew

I was going to whoop him up once we got to his house                     u8



          Foster invited the couple into his apartment. Once inside,

Foster said he did not have any money.            Davis began hitting him.

In his confession, Davis described in detail how he assaulted

Foster.       So that he would not leave fingerprints, Davis put socks

on his hands and then began stabbing Foster with a kni               he found

on the dresser. Davis got out his own kni            and repeatedly stabbed

Foster until blood began spurting out of his body.

              r Foster had died, Davis unsuccessfully searched his body

for money.        Davis told McDonald to write on the walls to throw off

investigators. Davis admitted that he stole various items from the

apartment, including ones later recovered by the police.

          Davis, however, had difficulty remembering some details about


( ...continued)
Appl      's Confession, Docket Entry No. 34-55 at 166-208.
6Id.      at 176, 185.
7
    Id. at 188.
8
    Id.

                                      -6-
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the murder.      Dav    was unclear on at which bar he met Foster and on

which night         had happened. 9   Davis      cifically said he "didn't

know the date this took place u but "[i]t was either Friday or

Saturday.uio     Davis, however, also provided many verifiably correct

details about the crime. 11

       Davis's confession led to his arrest for capital murder for

intentionally killing Foster on or about August 10, 1991, during a

robbery.



B.     Davis's 1992 Trial

        The State's case against Davis focused on his con            ssion to

Foster's murder.        The    fense challenged Davis's confession in a

two-day     pre-trial     suppression    hearing     where    nine   witnesses

testified.      Davis argued that the pol        had not honored his right

to counsel and the State had improperly promised him immunity for

McDonald if he confessed.          The trial court denied the motion to

suppress.      The trial court subsequently ent              factual findings

and     concluded      that   Davis    gave      s   in-custody      statement




9
 Davis gave the police the wrong name for the club where he met
Foster. Id. at 170, 173. He later clarified that it was the Pik'
N Pak.      at 186.
 rd. at 170, 174. Davis, in fact, wanted to pause the interview
10

to confirm with a friend which night he had vis ed the k 'N Pak
club.     at 193.
11Answer,   Docket Entry No. 88 at 154-57 (listing details).

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voluntarily. 12

         At trial,    Davis renewed his objections to the confession . 13

The trial       court   overruled his objection and admitted             Davis's

videotaped confession into evidence. 14 Still, the defense attempted

to call Davis's confession into question before the jury on several

grounds. 15

         The jury convicted Davis of capital murder on June 11, 1992.

A separate penalty hearing resulted in a death sentence.



C.       Post-Trial     Procedural   History    and   Davis's   Second    Death
         Sentence

         Davis's case presents a lengthy, and intricate, procedural

history.       Since Davis's conviction,       he has initiated extensive

legal proceedings.         Davis has brought his case to the Texas Court

of Criminal Appeals twice in direct appeal proceedings.              Davis has

     led nine state habeas actions, some of which resulted in a merits

review and others which the state courts dismissed as an abuse of

12
     Id. at 4-6.

  tatement of Facts-Vol. 18 [1992], Jury                  , Docket Entry No.
32-20 at 115.
14
     Id. at 120.
 The defense challenged: the time line provided by Davis's
15

confession through forensic evidence, the reliability of Davis's
con ssion by highlighting confusion over whether the victim had
died on Friday or Saturday night, the voluntariness of his
con ssion because he spoke with police to shield his wife from
prosecution, the presence of extraneous hairs on   victim's body,
and whether he intended to rob the victim when killing him.

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the writ.       This is Davis's second federal petition.            Even after

that expansive litigation, Davis still raises issues for the first

time in his federal petition.

         The court will review Davis's complex and detailed procedural

background before turning to the claims he raises in the instant

federal habeas action.



         1.    First Direct Appeal and First State Habeas Action

         After his conviction and sentencing, Davis sought appellate

review in the Texas Court of Criminal Appeals.              Davis's appellate

brief raised thirty points of error. 16              The Court of Criminal

Appeals affirmed Davis's conviction and sentence in a published

opinion on January 7, 1998. 17

         On July 2, 1997, Davis filed the first of many state habeas

corpus applications.          Under Texas procedure, the state district

court "is the 'original factfinder,' and [the Court of Criminal

Appeals] is the 'ultimate factfinder.'"            Ex parte Lane, 670 S.W.3d

662, 670       (Tex. Crim. App. 2023) (quoting Ex parte Thuesen, 546

S.W.3d 145, 157 (Tex. Crim. App. 2017)). The lower court's role is

to make findings of fact and conclusions of law for the Court of

Criminal Appeals' review.         The Court of Criminal Appeals generally


16
     Brief for Appellant [1992], Docket Entry No. 32-27 at 3-7.
 Davis v. State, No. AP 71,513, 961 S.W.2d 156 (Tex. Crim. App.
17
1998)

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adopts the lower court's recommendation unless it is not supported

by the record.      See Ex parte Garza, 620 S.W.3d 801, 808 (Tex. Crim.

App. 2021). The Court of Criminal Appeals makes the final decision

about the disposition of an inmate's habeas petition.

        Davis's first habeas application raised three grounds for

relief. 18    The trial court signed the State's proposed findings and

conclusions which recommended the denial of habeas relief. 19                      The

Court of Criminal Appeals adopted the lower court's findings and

denied relief in 1999. 20



        2.    First Federal Habeas Action and Second State Habeas
              Action

        Davis filed an initial petition for a federal writ of habeas

corpus on March 9, 2000. 21            Davis's federal petition raised two

grounds for relief, both related to McDonald's exertion of her

Fifth Amendment rights in the suppression hearing.22                   On that same



18
 Application for Post-Conviction Writ of Habeas Corpus Pursuant to
Article 11.071 V.A.C.C.P., Docket Entry No. 34-1 at 17.



 Ex parte Davis, No. WR-40,339-01 (Tex. Crim. App. Mar. 10, 1999)
20

(unpublished), Docket Entry No. 34-3 at 3-4.

21Davisv. Johnson, No. H-00-0852 (S.D. Houston)                      District Judge
John D. Rainey presided over Davis's initial                        federal habeas
application.

 Petition for Writ of Habeas Corpus by Person in State Custody
22

Capital Murder /Death Sentence, =D-=a'-'v'-'1=-· s
                                                 = _v  ._J
                                                    .,___,_   o�h=n=s"-o
                                                            =-=         n, No. H-00-0852
                                                                       ==
(S.D. Houston), Docket Entry No. 2 at 2.

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date, Davis also filed a second state writ application, which

raised the same issues as his init                 l federal petition. 23      On

September 13, 2000, the Court of Criminal Appeals held that Davis's

subsequent state writ application did not satisfy the requirements

of Art        le 11. 071, § 5 of the Texas Code of Criminal Procedure

which        governs   success    habeas applications.            The   Court of

Criminal Appeals dismissed Davis's second application as an abuse

of the writ. 24

        On October 1, 2001, the federal dist            court entered summary

judgment in the respondent's favor, denied habeas corpus relief,

and       smissed Davis's         ial federal petition with              udice. 25

Davis did not appeal from the district court's decision denying his

federal habeas petition.



        3.      Third State Habeas Application

        Facing an execution date, Davis             led a third state habeas

application on April 15, 2002. 26         For the first time, Davis relied

on the jurisprudence flowing from Penry v. Lynaugh, 109 S. Ct. 2934



 See Application for Writ of Habeas Corpus, Docket Entry No. 34-4
23

at 6-42.
 Ex parte Davis, No. WR 40,339-02 (Tex. Crim. App. Sept. 13, 2000)
24

(unpublished), Docket Entry No. 34-5 at 3 4.
 Order, Davis v.
25
                         Johnson, No.    H-00-08      ( S. D.   Houston), Docket
Entry No. 20.
 See Application for Writ of Habeas Corpus Imminent Execution
26

Scheduled for May 7, 2002, Docket Entry No. 34-6 at 7.

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(1989), to argue that the jury instructions precluded jurors from

fully considering his mitigating evidence.            Davis also argued that

he is actually innocent of capital murder.            The Court of Criminal

Appeals dismissed the third application as an abuse of the writ. 27

Davis also unsuccessfully filed motions to stay his execution in

the Fifth Circuit and the United States Supreme Court. 28



        4.    Fourth and Fifth       State   Habeas   Applications:     Initial
              Atkins Claim

        As Davis's execution date drew closer, the United States

Supreme Court had under consideration a case addressing whether the

Eighth Amendment's cruel and unusual punishment clause prevents a

State from executing an inmate with intellectual disabilities.                 On

May 7, 2002 (the day of his scheduled execution), Davis filed a

fourth       state   habeas   application,    which    argued    that   he     is

intellectually disabled and thus ineligible for execution. 29             Davis

also asked for a stay of his execution date.           The Court of Criminal

Appeals denied Davis's fourth habeas application as an abuse of the




 Ex parte Davis, No. WR 40,339-03, at *2 (Tex. Crim. App. Apr. 29,
27

2002) (unpublished), Docket Entry No. 34-9 at 3-4.
28
  In re Davis, No. 02-20479 (5th Cir. May 6, 2002); In re Davis, 122
S. Ct. 1814 (2002).

 See Application for Postconviction Writ of Habeas Corpus and
29

Motion for Stay of Execution, Docket Entry No. 34-10 at 2-31.

                                      -12-
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writ. 30     On that same date, the Supreme Court entered an order

staying Davis's execution. 31       The Supreme Court subsequently denied

certiorari review after the date for his execution had passed. 32

        On   June 20, 2002, the       Supreme    Court held in Atkins v.

Virginia, 122 S. Ct. 2242 (2002), that the Eighth Amendment bars

the execution of intellectually disabled offenders.                On July 8,

2002, the state trial court set a new execution date. 33          Davis filed

a fifth subsequent application on August 7, 2002, based on the new

Atkins decision. 34       The Court of Criminal Appeals stayed Davis's

execution and remanded Davis's application to the trial court for

consideration. 35

        The trial court held a six-day evidentiary hearing in 2004. 36

The parties presented testimony from mental-health professionals

and lay witnesses.        The trial court entered findings of fact and



 Ex parte Davis, No. WR 40,339-04 (Tex. Crim. App. May 7, 2002)
30

(unpublished), Docket Entry No. 34-11 at 3-4.
 Davis v. Texas, No. 01-10022, 122 S. Ct. 1815
31
                                                              (May 7, 2002),
Docket Entry No. 34-14 at 2.
32
     See Order, Docket Entry No. 34-16.
33
     See Execution Order, Docket Entry No. 34-18 at 2-3.
 See Application for Postconviction Writ of Habeas Corpus and
34

Motion for Stay of Execution, Docket Entry No. 34-24 at 2-178.
 Ex parte Davis, No. WR-40,339-05, 2002 WL 33000856 (Tex. Crim.
35

App. Aug. 9, 2002) (unpublished), Docket Entry No. 34-37 at 1-2.
36
     See Writ Hearing, Docket Entry Nos. 34-26 to -36.

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conclusions of law in 2005 recommending the denial of relief

because Davis failed to prove his Atkins claim. 37                In 2006, the

Court of Criminal Appeals adopted the lower court's recommendation

and denied relief. 38



        5.    Sixth State Habeas Application

        Davis filed a sixth state habeas application while his fifth

application was        still pending. 39      Davis's sixth     state habeas

application raised a� claim for the second time. The Court of

Criminal Appeals initially remanded the sixth application for

consideration but then dismissed it because of changes in Texas

law. 40      The   Court   of   Criminal   Appeals,    however,     decided    to

reconsider the Penry issue Davis had raised in his third habeas

application. 41     The Court of Criminal Appeals granted relief on the

Penry claim and ordered a new trial only on punishment. 42


 See Postconviction Writ, Trial Court's Findings of Fact,
37

Conclusions of Law and Order, Docket Entry No. 34-23 at 140-81.
38
     Ex parte Davis, No. WR-40,339-05, Docket Entry No. 34 38 at 1-2.

 See Subsequent 11.071 Application for Writ of Habeas Corpus,
39

Application for Postconviction Writ of Habeas Corpus, Docket Entry
No. 34-44 at 8-31.
 Ex parte Davis, No. WR 40,339-06 at *l-2
40
                                                            (Nov.    18,   2009)
(unpublished), Docket Entry No. 34-47 at 3-5.
41
          at 5.
42
     Ex parte Davis, No. AP-76,263, 2009 WL 3839065 (Tex. Crim. App.
                                                       (continued ...)

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        6.    Retrial of Davis's Punishment

        The trial court appointed R. P. "Skip u Cornelius and Allen

Tanner to represent Davis in the retrial of Davis's sentencing.

The State of Texas held a twelve-day punishment hearing in 2011.

The jury determined Davis's sentence by answering three special-

issue questions:

                           SPECIAL ISSUE NO. 1
              Do you find from the evidence beyond a
              reasonable doubt that the conduct of the
              defendant, Brian Edward Davis, that caused the
              death of Michael Alan Foster was committed
              deliberately   and    with   the    reasonable
              expectation that the death of Michael Alan
              Foster or another would result?

                           SPECIAL ISSUE NO. 2
              Do you find from the evidence beyond a
              reasonable doubt there is a probability that
              the defendant Brian Edward Davis would commit
              criminal   acts   of  violence   that   would
              constitute a continuing threat to society?


                           SPECIAL ISSUE NO. 3
              Do you find from the evidence taking into
              consideration all of the evidence including,
              the   circumstances   of  the   offense,   the
              defendant's character and background, and the
              personal moral culpability of the defendant
              that   there   is   a  sufficient   mitigating
              circumstance or circumstances to warrant that
              a sentence of life imprisonment rather than a
              death sentence be imposed? 43


(...continued)
Nov. 18, 2009) (unpublished).

 Clerk's Record [2011], Docket Entry No. 33-3 at 166-68.
43



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        So that the jury could consider          l relevant evidence in

making its sentencing         sion, the State adduced testimony about

the Foster murder,      including Davis's confession to the crime.

Additionally, the State presented Davis's long history of criminal

offenses.      Davis had committed numerous crimes as a juvenile,

including burglary and theft.       During his time in the Texas Youth

Commission, a psychologist labeled Davis with learning disabilities

and emotional disturbances, but also identified him as a leader.

Davis was repeatedly suspended and ultimately expelled from junior

high school.

        As an adult, Davis was convicted          delivery of marijuana.

He had his resulting probation revoked. After serving a prison

term,    he absconded from a parole correctional program,             which

resulted in another prison sentence.        Davis became a member of the

Aryan Brotherhood of Texas and demonstrated his membership through

various Nazi tattoos.          s committed numerous prison violations

such as possessing weapons, threatening officers, having drugs,

assaulting officers by throwing bodily waste at them, using racial

slurs, and possessing a cell phone.

        After he was released from prison, Davis committed numerous

unadjudicated bad acts, such as throwing a man off a second story

building.    Davis assaulted former girlfriends.      Davis assaulted and

shot at other people without provocation.          Davis once choked his


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own mother. Davis committed violent robberies.             Davis beat h is

wi   , Tina McDonald.

      Two of    Davis's   violent acts were      particularly    striking.

  rst, McDonald and Davis committed a violent assault on a man

named Steven Sherman only days after the Foster murder.              In the

assault, McDonald used a knife similar to one taken from Foster's

apartment.     The couple tied up Sherman and then stabbed him in the

throat, stomach, and back.       Second, the State present         evidence

that Davis had committed another murder.           In 1988, Davis killed

Keith Blaylock during a robbery in Mineral Wells, Texas.

      The State also called an expert, forensic psychologist Dr.

Timothy Proctor, who testified that Davis had average intelligence.

Dr. Proctor observed no signs of mental illness, but opined that

Davis had an antisocial personality and refused to follow rules.

Dr. Proctor disagreed with any opinion that Davis's background made

his life choices inevitable.

      The defense at the retrial attempted both to call into

question Davis's commission of the Foster murder and to provide

evidence mitigating against a death sentence.        The defense t     ed to

pin the Foster murder on McDonald.        The defense emphasized the         k

of physical evidence pointing to Davis's involvement in the crime,

but the significant evidence pointing toward McDonald's.                    The

defense bolstered this focus by questioning the veracity of Davis's

confession.     The defense also called numerous witnesses to refute

Davis's involvement in the extraneous Blaylock murder.

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        The defense called nine witnesses to give testimony about
Davis's background and life history.             Witnesses included family
members and friends who provided mitigating insight into his
upbringing.       The defense presented other witnesses who testified
that Davis had not been problematic in prison after his capital
conviction.       The defense       so called a prison expert who described
how prison practices and procedures help control the behavior of
life-sentenced inmates.

        The defense also called expert witnesses to testify about
Davis's mental health.        Dr.     lda Kessner, a forensic psychologist,
testified that testing showed that Davis was on the "cusp of low
average to borderline intellectual functioning. " 44             Dr. Kessner,
however, explicitly testi               that Davis was not intellectually
disabled. 45

        The defense called Dr. Jerome Brown, a clinical psychologist,
who testified that Davis was born with "wiring that wasn't right." 46
The inability of Davis's family to help him cope and his lack of
positive role models set             stage for his behavioral problems. The
lack of a consistent residence impai            schools' abil    y to provide



 Reporter's Record-Vol. 27 [2011], Punishment Proceedings, Docket
44

Entry No. 33-34 at 47.
45
     Id. at 86.
 Reporter's Record-Vol. 27 [2011], Punishment Proceedings, Docket
46

Entry No. 33-34 at 150.

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support.       Dr. Brown testified that Davis had self-esteem issues,

learning problems, hyperactivity, and substance abuse problems.

Dr. Brown had received information that Davis had been sexually

assaulted as a youth.

        The jury answered Texas's special-issue questions             a manner

requiring the imposition of a death sentence. 47             The trial court

sentenced Davis to death on March 9, 2011. 48



        7.    Second Direct Appeal

        Davis challenged his second death sentence in an appellate

br     f raising six points of error. 49 On October 23, 2013, the Court

of Criminal Appeals affirmed Davis's second death sentence. 50 Davis

did not seek certiorari review.



        8.    Seventh and Eight State Habeas Applications

        During the pendency of his second direct appeal, Davis filed

a seventh state writ application raising fourteen claims, including

an Atkins intellectual disability claim. 51          The trial court signed

4
 7 Clerk's   Record [2011], Docket Entry No. 33-3 at 166-68.
48
     Reporter's Record [2011], Docket Entry No. 33-37 at 8-9.
49
     See Brief for Appellant, Docket Entry No. 33-46 at 3-6.
 Davis v. State, No. AP-76,521, 2013 WL 5773353 (Tex. Crim. App.
50

Oct. 23, 2013) (unpublished), Docket Entry No. 33-48.
51
 See Postconviction Writ, Initi     Application for Writ of Habeas
Corpus (Filed Pursuant to Tex. Code Crim. Pro. art. 11.071), Docket
Entry No. 34-53 at 9-16. During the pendency of his direct appeal,
                                                     {continued... )

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the State's proposed findings of facts and conclusions of law and

recommended that the Court of Criminal Appeals deny rel                f. 52

        Before the Court of Criminal Appeals could rule on the trial

court's recommendation, however, Davis filed an eighth state habeas

application raising claims relating to both his 1992 trial and his

2011 punishment hearing. 53       On May 25, 2016, the Court of Criminal

Appeals entered an order disposing of the seventh and eighth habeas

applications.       The Court of Criminal Appeals relied on the trial

court's      findings    and   its   own   review    to   deny   the    seventh

application.       The Court of Criminal Appeals dismissed his eighth

application as an abuse of the writ. 54           The Supreme Court denied

Davis's petition for a writ of certiorari from his eighth writ




(...continued)
Davis also requested that the Court of Criminal Appeals reconsider
on its own initiative the denial of the Atkins claim from his fifth
state application. The Court of Criminal Appeals denied Davis's
request because "[r] e-opening a writ application attacking the
prior sentence is not the appropriate vehicle" for addressing any
Atkins claim. Ex parte Davis, No. WR 40,339-05, 2012 WL 3600293
(Tex. Crim. App. Aug. 22, 2012) (unpublished), Docket Entry No. 34-
39 at 4. The Court of Criminal Appeals advised Davis to raise any
Atkins claim in a separate writ.

 See Postconv
52
                ion Writ, Findings of Fact and Conclusions of Law,
and Order, Docket Entry No. 34-57 at 207 63.
53
     Postconviction Writ, Subsequent Application for Writ of Habeas
Corpus Filed Pursuant to Article 11.071, Section 5(A)(l); Exhibits,
Docket Entry No. 34-72 at 5-6.
 Ex parte Davis, Nos. WR-40,339-07 & WR-40,339-08, 2016 WL 3094320
54

(May 25, 2016) (unpublished).

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        9.     Initiation of Davis's Second Federal Proceedings

        On June 29, 2016, this court appointed counsel to represent

Davis throughout the course of federal review.             (Docket Entry No.

2) .      Instead of submitting a federal habeas petition, Davis

returned again to state court and fi                  a ninth state habeas

application.       This court stayed the federal action. 56



        10.    Ninth State Habeas Application

        Davis's ninth state application raised five claims, including

another Atkins claim.           The Court of Criminal Appeals dismissed

four          Davis's claims but remanded his Atkins claim for further

proceedings. 58 On June 24, 2019, the trial court signed the State's

proposed findings of            and conclusions of law. 59 The t       1 court

recommended that the Court of Criminal Appeals dismiss Davis's




55Davis      v. Texas, 137 S. Ct. 622 (Jan. 9, 2017).
56
     See Order, Docket Entry No. 28.
 See Subsequent Application for Writ of Habeas Corpus Filed
57

Pursuant to Article 11.071, Section 5; Exhibits, Docket Entry No.
34-80 at 6-9.
 Ex parte Davis, No. WR 40,339-09, 2017 WL 6031852, at *2 (Tex.
58

Crim. App. Dec. 6, 2017), Docket Entry Nos. 34-81 and -82.
     Supplemental Postconviction, Findings of Fact and Conclusions
of Law, Docket Entry No. 55-1 at 3-19.

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Atkins claim as an abuse of the writ under Article 11.071, § 5. 60

The        Court    of   Criminal   Appeals,      however,   did    not   adopt   that

recommendation.           Instead, the Court of Criminal Appeals engaged in

its own review and found that Davis did not make an adequate prima

facie showing on his Atkins claim.                 The Court of Criminal Appeals

then dismissed Davis's ninth application as an abuse of the writ. 61



D.         Davis's Federal Petition

           On April 9,      2020,    Davis filed a federal habeas petition

raising twenty-seven claims. 62              The court granted Davis leave to

amend his federal pet               ion,   but he never submitted an amended

petition. 63         As laid out by the parties' briefing, Davis's federal

petition raises the following grounds for rel                  f:

           1.      Davis is actually innocent of capital murder.

           2.      Insufficient evidence supports Davis's conviction.

           3.      The trial court erred in allowing the admission of
                   Davis's con ssion in violation of the Sixth and
                   Fourteenth   Amendments  to   the  United   States
                   Constitution.

           4.      The trial court erred in allowing the admission of
                   Davis's confession in violation of the Fifth and

60
     Id. at 1 6 .

 Ex parte Davis, No. WR 40, 339-09, 2020 WL 1557291, at *3 (Tex.
61

Crim. App. Apr. 1, 2020) (unpublished).
62
     Pet    ion, Docket Entry No. 30.
63
     Docket Entry Nos. 41, 43.

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         Fourteenth Amendments          to   the   United    States
         Constitution.

   5.    The trial court committed error when admitting
         photographic identification procedures that were so
         unduly suggest    to be violative of Davis's rights
         to due process of law under the Fifth and
         Fourteenth   Amendments   to the    United   States
         Constitution.

   6.    The trial court committed error when admitting
         photographic identification procedures that were so
         unduly suggestive to be violative of Davis's rights
         to due process of law under the Sixth and
         Fourteenth   Amendments   to  the   United   States
         Constitution.

   7.    The trial court erred in overruling Davis's
         objection to prosecutorial argument "which struck
         Davis over the shoulders of counsel u and violated
         his Fourteenth Amendment due process rights to a
         fair trial.

   8.    New DNA technology proves Davis's innocence.

   9.    The State presented        false    testimony   about   DNA
         during ret

   10.   The State violated Brady v. Maryland, 83 S. Ct.
         1194 (1963), by not disclosing that Tina McDona
         had been suspected of other home invasions
         involving white supremacists.

   11.   Davis is ineligible for the death penalty because
         he is an individual with intellectual disability.

   12.   Davis was denied his Sixth Amendment right to
         effective assistance of counsel because his
         attorneys  iled to:
         •     interview and present eyewitnesses to the
               crime during his trial in 1992 (claim
               12(b), (c));
         •     present a false confession expert during
               retrial of punishment in 2011 (claim
               12(d));

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              •     present DNA evidence during retrial that
                    Tina McDonald could not be excluded as
                    the source of a hair found on Foster's
                    shirt (   im 12(e));
              •     present evidence during retrial regarding
                    Tina McDonald's violent and aggressive
                    character (claim 12(f));
              •     question Margie Kessler during retrial
                    about calls she received from Davis just
                    before, and after, he         sect (claim
                    12(g));
              •     effectively present evidence to rebut the
                    State's case for future dangerousness
                    (claim 12(h));
              •     present foundational mitigation evidence
                    during retrial from lay witnesses (claim
                    12(i));
              •     call a social historian to testify
                    regarding Davis's life history (claim
                    12( j) ) ;
              •     object during retrial to the admission of
                    the mask as a whole (       12(k));

              •     present expert testimony during retrial
                    regarding the DNA on the stocking (claim
                    12(l)) ; and
              •     effect     ly    investigate  and      present
                    Davis's    Eighth Amendment intellectual
                    disabil       claim (claim 12(m)) . 64



 Davis's listing of
64
                       s ineffective-assistance arguments begins
with the standard of review and then proceeds with some
inconsistency in labeling the sub-arguments with          ters or
numbers. To maintain consistency with his enumeration of arguments
and the parties' briefing, the court will refer to his    rst sub­
argument as "12(b)" and re-designate any sub-arguments labeled as
numbers.

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   13.   Davis's 1992 conviction violated his right to due
         process when the State used false evidence to
         obtain it.

   14.   Davis's 2011 death sentence violated his right to
         due process when the State used   lse evidence to
         obtain it.

   15.   The State violated Brady by not disclosing a letter
         prior to Davis's 2011 punishment-only retrial.

   16.   Davis is ineligible for a death sentence because of
           s low intellectual functioning and appellate
         counsel was ineffective for failing to raise the
         issue on appeal.

   17.   Davis's death sentence should be vacated because a
         penalty phase-only ret      1 in a capital case
         constitutes deprivation of life without due process
         of law.

   18.   Trial counsel failed to preserve the record for
         appeal.

   19.   Davis's death sentence should be vacated because
         the punishment phase jury instruction restricted
         the evidence the     jury could determine was
         mitigating.

   20.   Davis's rights under the Sixth,        Eighth, and
         Fourteenth Amendments were violated when the trial
         court was prohibited from instructing the jury that
         a vote by one juror would result in a life
         sentence.

   21.   Texas's system of administering the death penalty
         is unconstitutional.

   22.   Davis was denied a fair punishment trial because of
         rest ctions on witness testimony.

   23.   The tr      court abused its discretion in not
         granting a motion for mistrial after a State's
         witness testified that Davis had been on death row.




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        25.      The   trial  court abused    s  discretion   in
                 prohibiting Davis from asking potenti    jurors
                 certain questions.

        26.      The trial abused its discretion in prohibiting
                 Davis from asking potent 1 jurors about his
                 earl r death sentence.

        27.      The   trial  court   abused   its discretion in
                 prohibiting Davis from asking potential jurors
                 about his earlier death sentence.

        28.      The trial court abused its discretion in needlessly
                 foreclosing   Davis   from   presenting   important
                 mitigating evidence about his earl r death
                 sentence.

        Davis included issues in his federal petition that he had not

exhausted during his extensive state litigation (even though he had

filed      his     ninth     habeas   application   after   invoking   federal

jurisdiction).             Specifically,    Davis conceded that        had not

exhausted claims 1 and 2 in state court. 66            Davis asked the court

to stay this case so that he could "move forward                  pending DNA

testing proceedings under Chapter 64 of the Texas Code of Criminal

Procedure." 67      Davis stated that his Chapter 64 1       igation involved

"DNA retesting of key crime scene evidence in [his] case based on



 Without explanation, Davis's petition omits a twenty-fourth ground
65

for relief. See Petition, Docket Entry No. 30 at 12. To maintain
consistency with the parties' briefing, the court will likewise
skip a twenty-fourth claim.

 Pet ioner Davis's Opposed Motion for Stay and Abeyance to Permit
66

Exhaustion of State Remedies, Docket Entry No. 44 at 1-2.
67
     Id. at 1.

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previously unavailable new DNA testing technology . .                   1168



        This court denied Davis's motion for two reasons.                      First,

Davis did not litigate          s stay request with diligence.                 court

had already stayed the proceedings once, Davis could have 1                igated

his DNA evidence during earlier state proceedings, and Davis filed

his request late in the habeas process. 69          Second, "neither federal

nor state law precludes an inmate from pursuing Chapter 64                        ief

concurrent with federal habeas proceedings." 70              This court's review

of the state docket sheet indicates that Davis has taken no action

on the Chapter 64 case since that time. 71

        Respondent    answered    Davis's    pet   ion. 72     After   receiving

additional briefing,            court rejected Respondent's argument that

federal law precluded consideration of any claims involving Davis's

guilt/innocence trial in 1992. 73           Respondent subsequently            led a

new answer. 7t.     Davis has     led a reply.        (Docket Entry No. 73).

68


69
     Docket Entry No. 50 at 3.


71
      Off ice of the Harris County District Clerk, available at:
https://www.hcdistr     lerk.com (last    sited August 21, 2024).
"[A]    strict court may properly take judicial notice of public
state court records." Stiel v. Heritage Numismatic Auctions, Inc.,
816 F. App'x 888, 892 (5th Cir. 2020).

            Entry Nos. 61, 62, 70.
            Entry No. 82.
74
     Respondent Lumpkin's Second Amended Answer with Brief    Support
                                                       (continued... )


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Respondent has also provided a sur-reply. 76 This matter is                for

adjudication.



          II.     Successiveness and the AEDPA Limitations Period

        Respondent argues that two provisions in the Anti               sm and

Effective Death Penalty Act ("AEDPA") prevent federal consideration

of various claims. First, AEDPA strictly limits an inmate's ability

to 1     igate a successive federal habeas petition.          See 28 U.S.C. §

2244(b). This is Davis's second federal habeas petition.             Davis had

a full opportunity to          igate any claims relating to his 1992 trial

in his first federal action.           Respondent previously argued that

AEDPA's successive-pet         ion provisions would preclude this court

from considering any claims in Davis's second habeas petition

raising guilt/innocence arguments (specifically claims 2, 3, 4, 5,

6, 7, 10, and 12(b/c)).        Relying on Fifth Circuit authority, In re

Greenwood, 2022 WL 501393 (5th Cir. Feb. 18, 2022), the court denied

Respondent's argument. 77 Respondent asks the court to reconsider its


(...continued)
("Answer 11 Docket Entry No. 88.
             ),



 Davis's Reply to Director's Amended Answer ("Reply"), Doc
75
                                                                         Entry
No. 95.
 Respondent Lumpkin's Sur-Reply with Bri
76
                                                    in Support, Docket Entry
No. 98).

77   Order, Docket Entry No. 84.


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successiveness ruling, 78       but   does not present any new law or

intervening authority that would compel a different result.                    The

court will not recons         r its earlier decision.

        Second, and relatedly, Respondent argues that Davis             led to

litigate any claims involving the trial of his guilt in a timely

manner. 79 See 28 U.S.C. § 2244(d) (1} ("A 1-year period of limitation

shall apply to an application for a                  of habeas corpus by a

person in custody pursuant to the judgment of a State court."}.

Respondent, however, acknowledges that this court's earl                ruling

on        viability of his guilt/innocence claims means that "Davis's

claims are timely" and only "reiterates the previous arguments to

preserve them for appeal. 1180        With the       ier decision regarding

successiveness, the court finds that                s filed his claims in a

timely manner.



                   III.   Availability of Federal Review

        Before turning to         grounds for rel    f, the court pauses to

discuss how the way Davis has litigated his claims defines the

course of federal review.        Davis's 384-page federal petition raises

twenty-seven claims, some of which contain numerous sub-arguments.

Federal habeas review,         however,    is limited in scope.       "When a

78
     Answer, Docket Entry No. 88 at 114-20.
79
     Id. at 120-26.
80
        at 120-21.


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petitioner fails to properly raise his federal claims in state

court, he deprives the State of an opportunity to address those

claims in the first instance and frustrates the State's ability to

honor his constitutional rights."            Cone v. Bell, 129 S. Ct. 1769,

1783 (2009) (quotation omitted).             Respondent argues that Davis

defaulted consideration of claims 8, 9, 10, 12(m), 13, 14, 15, 17,

and 21 in state court.



        A.    Procedura1 Defau1t

        The challenged claims fall into four categories.          First, when

Davis exhausted claims 17 and 21 in his seventh habeas application,

the Court of Criminal Appeals found that               Davis had defaulted

consideration of them under Texas' contemporaneous-objection rule. 81

Second,      Davis exhausted three claims       ( claims 13, 14, 15) in his

eighth habeas application,          which the Court of Criminal Appeals

dismissed as an abuse of the writ.             This is "an independent and

adequate state ground for the purpose of imposing a procedural bar

in a subsequent federal habeas proceeding."           Gutierrez v. Stephens,




 Findings of Fact and Conclusions of Law and Order, Docket Entry
81

No. 34-57 at 244, 256, 247, 259-60.       Texas's contemporaneous­
objection rule requires "a party to preserve an issue for appellate
review" by making "a timely objection with specific grounds for the
desired ruling."   Livingston v. Johnson, 107 F.3d 297, 311 (5th
Cir. 1997). The rule is an adequate and independent state law bar
to federal review. See Hughes v. Johnson, 191 F.3d 607, 614 (5th
Cir. 1999) (citing Amos v. Scott, 61 F.3d 333, 345 (5th Cir.
1995)).


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590 F. App'x 371, 384 (5th Cir. 2014) (quotation omitted). 82               Third,

Davis did not raise claim 12(m) in state court.                  Because he would

not     be    able   to   litigate   it   in    a   successive      state   habeas

application, "there is a procedural default."               Coleman v. Thompson,

111 S. Ct. 2546, 2557 n.l (1991).         Davis defaulted consideration of

claims 12(m), 13, 14, 15, 17, and 21.

        Respondent's      fourth   category     presents     a   more   difficult

question.        Davis raised federal claims 8, 9, 10, and 12(b)/(c) in

his ninth state habeas application.             Respondent argues that Davis

defaulted consideration those claims by raising them in his abusive

ninth        state   habeas   application. 83       Davis    only   responds    to

Respondent's procedural-default argument with regard to claims 9

and 10.       Because of the detailed concerns raised by the procedural

status of those claims, the court will consider them later.                 Davis,

however, does not dispute that he defaulted claim 8 and 12(b)/(c)

in state court.




 Order Dated May 25, 2016, Ex parte Davis, WR-40,339-07 & WR-
82

40,339-08, Docket Entry No. 34-76 at 1-4. Texas strictly enforces
its abuse-of-the-writ doctrine (codified at Tex. Code Crim. Pro.
art. 11.071 § 5(a)) and generally prohibits the filing of
successive habeas applications. Tex. Code Crim. Proc. Art. 11.071
§ 5(a).

 Answer, Docket Entry No. 88 at 210, 215, and 222. Respondent does
83

not argue that Davis defaulted consideration of claim 11 which he
raised in his ninth habeas application.


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        In   conclusion,     the    court        finds   that   Davis     defaulted

consideration of claims 8, 12(b)/(c), 12(m), 13, 14, 15, 17, and 21

in state court.



B.      Procedural Bar

        A federal procedural bar results when an inmate fails to

follow well-established state procedural rules.                  See Lambrix v.

Singletary, 117 S. Ct. 1517, 1522 (1997); Coleman, 111 S. Ct. at

2553-54.      A federal court may review an inmate's unexhausted or

procedurally barred claims only if the inmate shows: (1) cause and

actual prejudice;         or (2) that "a constitutional violation has

'probably resulted' in the conviction of one who is                       'actually

innocent       . . . "' Haley v. Dretke, 124 S. Ct. 1847, 1852 (2004)

(quoting Murray v. Carrier, 106 S. Ct. 2639, 2649 (1986)); see also

Schlup v. Delo, 115 S. Ct. 298 (1995).

        A petitioner has the burden to overcome a procedural bar.               See

Mccleskey v.      Zant,    111 S.   Ct.    1454,    1470 (1991).        Despite his

extensive      briefing,    Davis   does     not     specifically   address     the

procedural default of claims 8, 12(b)/(c), 13, 14, 15, 17, and 21. 84

Davis makes no effort to show cause and prejudice to overcome the

procedural bar of those claims.


 Davis addressed the procedural bar of claim 12(m) in his petition.
84

Davis filed a 108-page reply to Respondent's Answer.     See Reply,
Docket Entry No. 95.


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        Because    actual        innocence   may   result   in    a   fundamental

miscarriage of justice, inmates who make a sufficient showing of

innocence may overcome a procedural bar.              Davis raises an actual-

innocence claim as a substantive ground for relief,                      but his

briefing is not clear as to whether he intends innocence to serve

as a procedural mechanism to allow review of any barred claims. 85

Either way,        Davis has not shown innocence under the required

standard.         Davis makes a wide-ranging argument for innocence,

drawing together evidence from trial, construing it in a light most

favorable to an acquittal, and then adding to it some evidence

which he has developed after trial.                Respondent challenges each

piece     of evidence       on    which   Davis bases   his      actual-innocence

argument.      Taken together, Respondent argues that (1) Davis does

not rely on "new reliable" evidence as understood by federal law

and (2) he does not show that, in the light of newly-discovered

evidence,     "it is more likely than not that no reasonable juror

would have found         [the]      petitioner guilty beyond a reasonable



 Davis's petition argues that he is "actually innocent of the
85

Foster murder under Herrera [v. Collins], House v. Bell and Schlup
v. Delo," but does not identify which claims should pass through
the Schlup gateway.    In fact, even when citing Schlup Davis's
pleadings still treat his actual-innocence arguments as a
substantive ground for habeas relief. See Petition, Docket Entry
No. 30 at 54 (arguing that he "has made a sufficient Schlup/House
v. Bell gateway showing, as well as a sufficient Herrera v. Collins
showing, and habeas relief should be granted on this basis, and a
new trial ordered as to guilt-innocence and punishment") (emphasis
added).


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doubt."     Schlup. 115 S. Ct. 851; see also McOuiggin v. Perkins, 133

S. Ct. 1924, 1935 (2013).

        Davis's reply does not substantively respond to Respondent's

analysis of his actual-innocence arguments,              but instead mostly

rests on the allegations in his petition.             Davis does not produce

new, reliable evidence but instead weaves together loose threads of

evidence available at trial into a potential defense blaming the

murder on Tina McDonald and other skinheads. See Hancock v. Davis,

906 F.3d 387, 389-90 (5th Cir. 2018) (finding that evidence is not

"new" if it was known by the inmate). 86          Merely reframing available

evidence does not prove actual innocence because the inmate is

"asking courts to usurp the jury's function by considering the same

evidence the jury did .              II
                                            United States v. Vargas-Soto, 35

F.4th 979, 999 (5th Cir. 2022). 87          Davis has not brought forth new,

reliable evidence of his innocence.              Allegations of innocence do

not allow Davis to overcome any procedural bar.


 Davis relies on various factors such as the medical examiner's
86

trial testimony and accounts from neighbors that they heard noise
from Foster's apartment after the time the murder apparently
occurred.

 Only Davis's blood and hair evidence was not available at trial.
87

That evidence, however, is not necessarily exculpatory. Respondent
accurately argues that, even though testing on hair and blood
samples found at the scene excludes Davis, nothing in the record
attributes that genetic material to the killer. At best, Davis's
new hair and blood evidence could show that someone else also may
have been in Foster's apartment, but it does not prove that Davis
was not there and did not kill him.


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C.      Conclusion

        Davis defaulted consideration of claims 8, 12(b)/(c), 12(m),

13,    14,   15,    17,   and 21 in state court.            Because Davis has not

overcome the resultant procedural bar,                  federal review is not

available for those claims.



                              IV. Standard of Review

        The Court of Criminal Appeals denied many of Davis's claims

when he raised them in state court.                   A denial by the Court of

Criminal Appeals qualifies as an "adjudication on the merits" which

is subject to deference under AEDPA's standard of review.                     See 28

U.S.C. § 2254(d).           See Anaya v. Lumpkin, 976 F.3d 545, 550 (5th

Cir. 2020).          The highly deferential legal standard found in §

2254 (d) "imposes important limitations on the power of federal

courts to overturn the judgments of state courts in criminal

cases."      Shoop v. Hill, 139 S. Ct. 504, 506                (2019).     A federal

habeas corpus court may not grant relief unless the state court's

adjudication "resulted in a decision that was contrary to,                        or

involved      an    unreasonable   application        of,    clearly     established

Federal      law,     as    determined    by    the    Supreme     Court    of   the

United States[.]"          28 U.S.C. § 2254 (d)(1).          Likewise, if a claim

presents a question of fact, a petitioner cannot obtain federal

habeas relief unless he shows that the state court's decision "was




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based on an unreasonable determination of the facts in light of the

evidence presented in the State court proceeding."                  28 u.s.c.

§ 2 254 (d) (2).
                   88



        Before turning to Davis's claims, the court observes that his

briefing largely fails to address his burden under AEDPA.                 Davis

has     the    "burden   of   proof"   under AEDPA   (and   in   habeas   cases

generally)         Cullen v. Pinholster, 131 S. Ct. 1388, 1398 (2011).

Davis's petition does not provide any indication of where he raised

many of his federal claims, how the state courts resolved them, and

how that decision was contrary to, or an unreasonable application

of, federal law. See 28 U.S.C. § 2254 (d) (1).         Davis's petition only

addresses the AEDPA standard when briefing claims three, four, and

nine.         Davis's petition makes no effort to address AEDPA with

regard to most claims.           See Poree v. Collins, 866 F.3d 235, 250



 "A state court's decision is deemed contrary to clearly
88

established federal law if it reaches a legal conclusion in direct
conflict with a prior decision of the Supreme Court or if it
reaches a different conclusion than the Supreme Court on materially
indistinguishable facts."    Matamoros v. Stephens, 783 F.3d 212,
215 (5th Cir. 2015) (citations and internal quotation marks
omitted). To constitute an "unreasonable application of" clearly
established federal law, a state court's holding "must be
objectively unreasonable, not merely wrong; even clear error will
not suffice."    Woods v. Donald, 135 S. Ct. 1372, 1376 (2015)
(quoting White v. Woodall, 134 S. Ct. 1697, 1702 (2014)).       "To
satisfy this high bar, a habeas petitioner is required to 'show
that the state court's ruling on the claim being presented in
federal court was so lacking in justification that there was an
error well understood and comprehended in existing law beyond any
possibility for fairminded disagreement.'" Id. (quoting Richter,
131 S. Ct. at 786-87).


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(5th Cir.   2017)    (stating that an inmate must make a            "clear,

independent argument that the state court's denial u requires relief

under AEDPA) .

     Even after Respondent's Answer pointed out that Davis had

generally not briefed the AEDPA standard, Davis made little effort

in his Reply to meet his burden.          Davis's Reply only addressed

claims 3, 4, 8, and 9.      Davis's Reply made no effort to carry his

AEDPA burden with regard to his other claims.         In short, Davis has

almost wholly neglected to show entitlement to relief under AEDPA.

The Fifth Circuit in similar circumstances has found that an inmate

has abandoned his claims by failing to brief them adequately.               See

Ramirez v. Stephens, 641 F. App'x 312, 324 (5th Cir. 2016); Poree,

866 F.3d at 250.       Davis's inadequate briefing is a sufficient

reason for summarily denying all except claims 3, 4, 8 and 9.

     Despite Davis's failure to make any effort at meeting his

burden, and likewise show that his procedurally defaulted claims

warrant federal review,      the court will address his claims the

interests of justice.        In the interests of judicial economy,

however, the court will only do so briefly and with great deference

to the state court adjudications.




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                                V.    Discussion

A.      Actual Innocence (claim 1)

        In his first ground for relief, Davis claims that he is

actually innocent of capital murder.           Through a meandering, multi­

layered argument, Davis crafts a potential defensive strategy based

on evidence developed at both trials and afterwards.               Davis claims

that the court should "reverse the conviction for the offense of

capital murder" because he is actually innocent of the murder. 89

        While Davis presented a limited actual-innocence argument in

his third state habeas application, he did not exhaust the full

breadth of his federal actual-innocence claim in state court.

Earlier     in   this   litigation,    Davis    conceded   that    he   had   not

exhausted his actual-innocence claim. 90           Davis's failure to exhaust

prevents the court from granting relief on claim 1.               See 28 U.S.C.

§ 2254 (b).

        Even so, the Supreme Court has not recognized actual innocence

as a free-standing federal constitutional claim.              See Herrera v.

Collins, 113 S. Ct. 853, 860 (1993).           Because the Sup reme Court has

never found that actual innocence is "an independently cognizable

federal-habeas claim," the arguments in Davis's first claim do not


89
     Petition, Docket Entry No. 30 at 57.

 Petitioner Davis's Opposed Motion for Stay and Abeyance to Permit
90

Exhaustion of State Remedies, Docket Entry No. 44 at 1-2.


                                       -38-
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provide an independent basis for federal habeas relief.              Foster v.

Quarterman, 466 F.3d 359, 367 (5th Cir. 2006); see also In re Raby,

925 F.3d 749, 755 (5th Cir. 2019); Kinsel v. Cain, 647 F.3d 265,

270 n.20 (5th Cir. 2011).        The court will deny Davis's first claim.



B.      Sufficiency of the Evidence (claim 2)

        In his second claim, Davis argues that insufficient evidence

supported his capital conviction because the State did not prove a

"nexus" between the murder and the theft of items from Foster's

apartment.       Under Jackson v. Virginia, 99 S. Ct. 2781 (1979), a

reviewing court affirms a jury's conviction if, considering all the

evidence in a light most favorable to the prosecution, a rational

trier of fact could have returned a verdict unfavorable to the

defendant.       This demanding inquiry is highly deferential to, and

resolves any conflicting evidence in favor of, the jury's verdict.

See United States v. Harris, 293 F.3d 863, 869 (5th Cir. 2002);

United States v. Duncan, 919 F.2d 981, 990 (5th Cir. 1990).              AEDPA

augments the deferential Jackson analysis, creating a "double dose

of deference that can rarely be surmounted." Boyer v. Bellegue, 659

F.3d 957, 964 (9th Cir. 2011); see also Coleman v. Jackson, 132 S.

Ct. 2060, 2062 (2012).

        The Court of Criminal Appeals rejected Davis's claim on direct

appeal as follows:




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        This Court has defined "in the course of committing" an
        offense listed in Texas Penal Code § 19. 03 (a) (2) as
        conduct occurring in an attempt to commit, during the
        commission, or in immediate flight after the attempt or
        commission of the offense.    In order for the murder to
        qualify as a capital murder under § 19. 03 (a) (2), the
        intent to rob must be formed prior to or concurrent with
        the murder. A killing and an unrelated taking of property
        do not constitute a capital murder.

        The evidence establishes that [Davis] believed the victim
        had money when he was killed. As [Davis] stated in his
        confession, the victim stated that he had money and that
        he did not have money. When [Davis] killed the victim[,]
        he searched the victim's pockets for money. [Davis] also
        removed the victim's shoe to search for money. A rational
        jury could determine that when [Davis] killed the victim
        he formed the intent to rob prior to or concurrent with
        the murder. 91

        Davis does not brief the AEDPA standard with regard to this

claim, which alone precludes federal habeas relief.              The Court of

Criminal Appeals' rejection of this claim was not unreasonable.

The jury possessed sufficient facts to find that Davis committed

the capital murder in the course of a robbery.                Looking at the

evidence in a light most favorable to the jury's verdict, the Court

of Criminal Appeals was not unreasonable in finding that sufficient

evidence supported Davis's conviction.            This claim is denied.



C.      Davis's Confession (claims 3 and 4)

        Davis's federal petition raises two claims relating to the


 Opinion, Davis v. The State of Texas, No. 71,513, Docket Entry No.
91

32-29 at 5 (citations omitted).


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admission of the police statement in which he confessed to the

murder.      Davis argues that the police interrogation violated both

his Sixth Amendment right to counsel              (claim 3)   and his Fifth

Amendment right against self-incrimination (claim 4)             Davis briefs

his Fifth and Sixth Amendment claims together in both his Petition

and in his Reply. 92       Davis's two claims raise separate questions:

did Davis validly waive his right to counsel and did he waive both

his Fifth and Sixth Amendment rights voluntarily?



        1.    Background

        Before the police knew about their involvement in the Foster

murder, the police had arrested Davis and McDonald on August 17,

1991,     in connection with the stabbing of a man named Steven

Sherman.      Counsel was appointed for Davis relating to that arrest.

        The police approached Davis in jail on September 10, 1991, to

question him about the Foster murder.               "Shown a photograph of

Foster by the detective,        [Davis] denied that he knew him and said

he wanted to talk to the attorney appointed to represent him in the

Sherman case. The detectives ceased their conversation with [Davis]

and left." 93     Davis then contacted police officers on November 19,

1991, and expressed a desire to speak with them about the case.


 Petition, Docket Entry No. 30 at 57-82; Reply, Docket Entry No.
92

95 at 1-13.
93   Supplemental Clerk's Record, Docket Entry No. 32-3 at 4.


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Davis waived his rights and provided a statement confessing to the

Foster murder.

           Davis complains that the police interrogation violated the

Fifth        and   Sixth   Amendments,      each     of   which   provide   distinct

protections for criminal suspects.                   The Sixth Amendment provides

that "[i]n all criminal prosecutions, the accused shall enjoy the

right                to have the Assistance of Counsel for his defence."

McNeil v. Wisconsin, 11 S. Ct. 2204, 2207 (1991).                  Davis challenges

the admissibility of his police statement because, even though he

had        counsel    appointed    for   the       Sherman   stabbing,    the   police

"continued to contact him behind counsel's back and attempt to

question him. What makes the officers' actions even more offensive

is that they were contacted by [the attorney appointed for the

Sherman stabbing] who told them he wished to be present during any

police questioning." 94           Davis also says that his "waiver was not a

valid waiver because it was induced by trickery and deception"

because of pressure put on his wife. 95

           Davis   also    alleges   that    the     police    violated   his    Fifth

Amendment rights.           The Fifth Amendment ensures a right to remain

silent, which an inmate must waive "voluntar[ily] in the sense that

it was the product of a free and deliberate choice rather than

94
     Id. at 69.

gs   Id.


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intimidation, coercion, or deception."            Moran v. Burbine, 106 S.

Ct. 1135,       1140-41   (1986).   Davis does not point to any direct

intimidation to himself, but argues that the waiver resulted from

an "elaborate scheme" which the police concocted to put pressure on

McDonald "in order to secure incriminating statements from him." 96

Davis does not identify any direct threat to McDonald, but instead

apparently refers to the prosecution's initial focus on her as the

possible killer.          Davis argues that,    "[k]nowing that [he] would

seek to communicate with his wife who was also jailed,                   peace

officers initiated continued contact with [his wife] informing her

that all of the evidence pointed to her while none of it pointed to

her husband." 97      Davis alleges that the police knew that badgering

McDonald would result in him "coming forward in order to exculpate

his wife,       prevent her death sentence and inculpate himself." 98

Davis also alleges that "police overreaching" induced him into

believing his confession would result in immunity for his wife, a

life sentence, and a jail transfer.99



           2.   Decision on Direct Appeal



96   Petition, Docket Entry No. 30 at 57, 66.
97   Id. at 67.
gs   Id.
99   Id. at 70.


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         Davis raised these two claims in his first direct appeal.

With regard to the Sixth Amendment claim, the Court of Criminal

Appeals easily found that "[a]s the adversarial proceedings against

[Davis] had not been initiated, [he] had no Sixth Amendment right

to counsel" with regard to the Foster murder. 100                The Court of

Criminal Appeals found that, even though Davis has an appointed

attorney on the Sherman stabbing, "the Sixth Amendment is offense­

specific"       so his    "invocation of his      Sixth Amendment right to

counsel in the unrelated offenses does not carry over to the

instant offenses." 101

         Davis's allegations of coercion under the Fifth Amendment

fared no better.         Davis's appellate arguments followed two themes.

First, Davis argued that the police threats against his wife

rendered his own waiver involuntary.           Second, Davis argued that the

police only secured his confession pursuant to an improper promise.

The Court of Criminal Appeals found no unlawful behavior by police

officers.       The Court of Criminal Appeals found no evidence that the

police harassed or mistreated             McDonald, but rather       "[a] s the

evidence mounted against [his] wife, the officers['] contact with




  opinion, Davis v. The State of Texas, No. 71,513, Docket Entry
100

No. 32-29 at 9-10.
  rd. at 10 (citing McNeil v. Wisconsin, 111 S. Ct. 2204, 2207
101

(1991) and Maine v. Moulton, 106 S. Ct. 477, 489 n.16 (1985)).


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her increased" 102     Instead, Davis's "determination to confess" which

"was based upon a desire to protect his wife from prosecution" was

a "subjective belief," not a result of pressure or promises. 103

         Without any evidence to support Davis's claim that a police

scheme or promise improperly influenced his decisions, the Court of

Criminal Appeals easily found that he had made a valid waiver of

both his Fifth and Sixth Amendment rights.



         3.    AEDPA Review

         This is one of the few claims in which Davis addresses the

AEDPA standard of review.             Because Davis raised these claims on

direct appeal, he must show that the state decision was contrary

to, or an unreasonable application of, federal law.               See 28 U.S.C.

§ 2254 (d) (1) . 104   The Court of Criminal Appeals was not unreasonable

in      denying    Davis's    claim   that     admission   of   his   videotaped

confession violated his Sixth Amendment right to counsel.                    The

Sixth Amendment right to counsel, which attaches at the "initiation

of adversary judicial proceedings," McNeil, 111 S. Ct. at 2207, is


102   Id. at 12.
103
      rd. at 14.

  Still, Davis relies on case law about the standard of review that
104

predates AEDPA and asserts that the court must decide questions
about the constitutionality of his confession independent of any
deference to the state decision. See Reply, Docket Entry No. 95 at
1-3.


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"offense specific," meaning it appl           s only "to the            fie
offense with which the suspect has been charged." United States v.

Carpenter, 963 F.2d 736, 739 (5th Cir. 1992); see also
Cobb, 121 S. Ct. 1335, 1340 (2001) .      In other words, "a defendant's
statements regarding offenses for which he ha[s] not been charged
[are]    admissible notwithstanding the attachment of his Sixth
Amendment right to counsel on other charged offenses."           Cobb, 121
S. Ct. at 1340.

            State did not charge Davis in the instant case until
November 26, 1991, after he confessed to the murder.           Adversarial
proceedings in the Foster case had not initiated when Davis spoke

with police officers.        That he had an attorney appointed for
another charge is of no moment.       Davis waived his right to counsel
for      errogation relating to the instant offense and cannot show,
based on the facts that he developed in state court, that he did
not do so involuntarily.

        Both Davis's third and fourth cla         allege that the State

violated his rights by creating a situation where he did not
voluntarily give his statement.           Davis's arguments depend on

showing that circumstances overwhelmed his ability to                up his

rights voluntarily.      Davis does not identify any direct threat,
improper inducement, or deception to himself.              Instead, Davis
alleges that state actors concocted an elaborate scheme to force a



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confession by pressuring McDonald. Davis's federal pleadings also

rest on his arguments that "'police threats to an accused or his

family render a confession involuntarily.' 11105

         While it is true that "[t]hreats .            . to somehow burden [a
defendant's loved one] until or unless the defendant confesses can
raise coercion issues[,]" the concerns "are attenuated when the
family member or loved one is plausibly                to the crime."      States

v. Hall, 711 F. App'x 198, 202 (5th Cir. 2017); see also Allen v.
Mccotter, 804 F.2d 1362, 1364              (5th   r. 1986).      The Court of

Criminal       Appeals    reviewed   the    evidence    that   point      toward

McDonald's involvement            the Foster murder and found that as "the
evidence        mounted    against     [her],           officer[']s     contact

increased. nlo6     In essence, the Court of Criminal Appeals found that
the po       ce did not threaten McDonald to secure Davis's confession,
they "were following            only leads they possessed . .           11107
                                                                                The

record does not contain any other evidence that t                          police

concocted a scheme to pressure McDonald while allowing them to
communicate.

         The Court of Criminal Appeals also rejected Davis's assertion
that he confessed because of the State had promised immunity for


105
      Reply, Docket Entry No. 95 at 7 (emphasis in original} .
  Opinion, Davis v. The State of Texas, No. 71,513, Docket Entry
106

No. 32-29 at 12.
107
      Id. at 11.


                                        -47-
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his wife, a life sentence, and jail relocation.              The testimony in

the suppression hearing indicated that no promises to Davis had

been made.       Davis himself said during the interrogation that he had

not been promised anything.             As the Court of Criminal Appeals

observed, the evidence showed that Davis confessed "based upon a

desire to protect his wife from prosecution" and any belief about

the consequences of that confession was "subjective. " 108

         Having dismissed Davis's arguments about a scheme against him

and unrealized promises that induced his confession, the Court of

Criminal Appeals found that the State had honored Davis's rights,

that he was the one who approached the police about making a

statement, that he was repeatedly advised of his rights, and that

he waived them.        Davis has not shown that the state court's review

of his claims was unreasonable.               Davis has not met the AEDPA

standard regarding claims 3 and 4.               The court will deny those

claims.



D.       Photographic Identification Procedures (claims 5 and 6)

         I n his fifth and sixth claims, Davis argues that the trial

court violated his Fifth, Sixth, and Fourteenth Amendment rights by

admitting into evidence "photographic identification procedures




108   Id. at 14.


                                       -48-
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wh 1c
   • h were . . . undu 1 y suggest ive
                                   •   . . . . ul09       This claim involves

the identification made by Ralph Ulrich who was working at the Pik

'N Pak club on August 10, 1991.               Davis acknowledges          "[a)t

first blush, it would appear that Ulrich's pretrial identi               cation

of [Davis] is constitutionally sound: Detective [Charles) Smith

attempted to secure an array of similar participants and

avoided any undue suggestion by the peace officers. ,,uo                 Davis,

however, argues that "once that thin veneer is stripped away, it

becomes apparent that Ulrich's identi               cation is based not on

[Davis's] face but on a tattoo, which was attributed to [him] ."m

Davis says that "[b)ecause of the manner             which the single tattoo

was identified, it surely meant that [                would be identi     ed as

the perpetrator. "112

            The Court of Criminal Appeals rejected these claims on direct

appeal.         Davis does not challenge the        udication of this claim

under the AEDPA standard.           Instead,        s merely relies on pre-

AEDPA law to argue that the state court's decision warrants no

deference. 113       Davis's   ilure to brief the AEDPA standard is alone

109
      Pet    ion, Docket Entry No. 30 at 82.
uord. at 83.


112
            at 86.

ll3Id.


                                       -49-
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a sufficient basis to deny this claim.

            Even   so,   the   record    contains    significant     details    about

Ulrich's identification that do not indicate that the pol                          used

impermissibly suggestive procedures.                While Ulrich initially told

pol            that he "was kind of shocked" when he found out about

Foster's murder and "didn't have anything really to tell" them, 114

he later gave the police a description which matched Davis and his

wife.          Ulrich specifically mentioned the Nazi tattoo on                 man's

exposed chest. 115

            On September 10, 1991, a police                r presented Ul      ch with

two photo spreads, each with six pictures,                      to see if he could

identi           the couple         the victim 1          with that night.     Ulrich

"tentative[ly]"           picked   out    both    Davis   and   McDonald    from   the

respective arrays. 116 When Ulrich pointed out the picture of Davis,

however, he stated that                 "looked like the subject, but he wasn't

sure at that time" and "that he recalled the tattoo more than he

did the face. "117 Ulrich said "[h] e would be more certain" if he saw



114      Statement of Facts-Vol. 17 [ 1992], Jury Trial, Nos. 32-19 at 134.
  5
11Statement of Facts-Vol. 17 [1992], Jury Trial, Nos. 32-19 at 127,
No. 32 0 at 80, No. 32 1 at 38.

��6 Opinion,
           Davis v. The State of Texas, No. 71,513, Doc                         Entry
No. 32 29 at 17, n. 10.
     7
11Statement of Facts-Vol. 18 [1992], Jury Trial, Docket Entry No.
32-20 at 83-84,87,170.


                                           -50-
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the tattoo. 118         On September 11, 1992, the police officer visited

Ulrich again, this time with a photograph he had taken of Davis's

tattoo. 119        The photograph of the tattoo "was of [Davis's] torso,

neck, and the portion of his head below the nose.                    The majority of

[Davis's] face was not visible. " 120              Ulrich recognized the tattoo as

the one on the man who left with the victim. 121                Ulrich testified at

trial that, even if he had not seen the photo spreads, he would

have been able to identify Davis in court. 122

            On direct appeal from Davis's 1992 conviction, the Court of

Criminal Appeals did not find any impermissibly suggestive factor

in Ulrich's identification of Davis.                     As noted by the Court of

Criminal          Appeals,      Davis    focused    on    weaknesses    in     Ulrich's

identification,           which    are     properly      addressed   through    cross-

examination. 123           In    his    federal    briefing,    Davis   focuses     his

complaints about the fact that the police presented Ulrich with a

photograph of his tattoo.               According to Davis, a "better procedure"

would have been to place the photograph of his tattoo into an array

118      Id. at 169.

11
  9      Id. at 87.
120 O
   pinion, Davis v. The State of Texas, No. 71,513, Docket Entry
No. 32-29 at 17, n. 11.
    21
1 Statement of Facts-Vol. 18 [1992], Jury Trial, Docket Entry No.
32-20 at 165-66.
122
         Id. at 146.
       Opinion, Davis v. The State of Texas, No. 71,513, Docket
            123

Entry No. 32-29 at 17.


                                            -51-
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of photographs containing other tattoos. 124            Davis, however, has not

provided any constitutional law requiring a "tattoo lineup" in

similar circumstances.

         Further, Davis's argument ignores the fact that Ul             ch had

tentatively identified him as the perpetrator in the init               1 photo

spread and then posit             ly did so in court.     Davis does not raise

any      serious objection to the initial identification.                 While

Ulrich's initial identi            cation was somewhat tentative,        Ulrich

testi            that he would have been able to identify Davis in court

even if he had not seen the photo spreads.               With that background,

the state court was not unreasonable in finding no constitutional

error.         The court, there      , denies Davis's challenges to Ulrich's

identi         cation.



E.       Improper Prosecutorial Argument (claim 7)

         In his seventh ground for relief,           Davis argues that the

prosecution made improper arguments during closing arguments in his

1992 guilt/innocence trial.              Davis complains that the State's

attorney made statements during closing "which struck [him] over

the shoulders of counsel" and otherwise violated the Fourteenth

Amendment's due process clause. 125            Respondent argues that the




         124
               Petition, Docket Entry No. 30 at 83.
125
      Id. at 71.


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challenged prosecutorial arguments were not improper. 126               Davis's

Reply does not discuss Respondent's arguments.

         A petitioner raising a claim of prosecutorial misconduct

carries a "substantial burden." United States v. Diaz-Cameron, 915

F.2d 951, 956 (5th Cir. 1990).            "A prosecutor's improper argument

will, in itself, exceed constitutional limitations only in the most

egregious cases." Ortega v. Mccotter, 808 F.2d 406, 410 (5th Cir.

1987)      (quotation omitted).      A prosecutor's remarks will provide

grounds for habeas rel          f if they "evince either persistent and

pronounced misconduct or . . . the evidence was so insubstantial

that (in probability) but for the remarks no conviction would have

occurred."       Harris v. Cockrell, 313 F.3d 238, 245 (5th Cir. 2002)

(quotation omitted).

         On direct appeal from his conviction,            Davis challenged a

section of closing arguments in which trial counsel objected three

times to the prosecutor's remarks.127            In each case, Davis argued

that      the   arguments    "were   st   kes   at   [him]   through    defense



126
      Answer, Docket Entry No. 88 at 199-209.
  Respondent points out that Davis's state court briefing did not
127

include two of the allegedly improper comments which he identifies
on federal review. To exhaust a federal constitutional claim, an
inmate must "fai y present[]" his federal claim "to the highest
state court." Whitehead v. Johnson, 157 F.3d 384, 387 (5th Cir.
1998). Even though Davis did not challenge those comments in state
court, fede    relief is unavailable for the same reasons discussed
above.


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counsel. " 128       The Court of Criminal Appeals accepted the State's

argument that the remarks were "not directed at defense counsel but

rather      [were]    directed at defense counsel's argument," and thus

were permissible under state law. 129

         This    court    has    reviewed    the    challenged   statements    and,

considering them in the context of the whole trial, they did not

render Davis's trial fundamentally unfair.                The state courts found

that the remarks were not inappropriate under state law.                      While

this court's focus is on federal law, the state court's reasoning

applies with full force in this case.                Davis has not provided any

counterargument          to Respondent's       detailed consideration     of the

allegedly        improper       comments.      As    extensively   discussed    by

Respondent, the State's comments were not pervasive or pronounced.

Given the strong evidence of Davis's guilt, the challenged comments

did not play a critical or highly significant factor in the jury's

determination.           Davis has not shown that he merits federal habeas

relief on this claim.



F.       Texas' Habeas Remedies (claim 8)

         In his eighth claim for relief, Davis asserts that Article


  0pinion, Davis v. The State of Texas, No. 71,513, Docket Entry
128

No. 32-29 at 21.
129
      Id. at 23.


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11.073 of the Texas Code of Criminal Procedure 130 entitles him to a

new            t     1   because    "new    DNA    technology"   excludes   him   as    a

contributor to two ha                 s found at the crime scene.131         The 2017

testing involved DNA samples from hair found in the victim's hand

and from a bloodstain found on his pants.                        The results did not

match Davis's DNA.                 Davis says that the results create "more than

a reasonable doubt of [his] guilt." 132

               In his ninth state habeas applicat            , Davis argued that the

new DNA testing exonerated him under Tex. Code Crim. Pro. art.

11.073.              The Court of Criminal Appeals applied its procedural law

and dismissed this c                       without considering the merits.        Davis

claims that the Court of Criminal Appeals should have                                  him

litigate the issue under article 11.073.

               Insofar as Davis intends to present the same claim he raised

in his ninth state habeas application, Respondent argues that a




     0
13In 2013, the Texas state legislature enacted Texas Code of
Criminal Procedure article 11.073, "which allows a defendant to
obtain post-conviction relief based on a change in science relied
on by      State at t   l." Ex parte Chaney, 563 S.W.3d 239, 255
(Tex. Crim. App. 2018).     Under that statute, habeas review is
possible for "relevant scientific evidence" that "was not available
at the time of the convicted person's trial" and "had the
scientific evidence been presented at t    1 . . . the     on would
not have been convicted." Tex. Code Crim. Pro. Art. 11.073.
131
         Pet       ion, Docket Entry No. 30 at 92.
  2
13       Id. at 117-18.


                                                  -55-
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procedural bar forecloses federal review. 133           Davis makes no effort
to overcome the procedural bar.

         At any rate, Davis's claim is without merit.            Davis's wide-
ranging argument dri           s from general concerns about the use of
confes       ons   in    cap    1   cases,    to     exonerations         other

jurisdictions, to perceived weaknesses in the State's case, to
quest           raised by the new DNA evidence.             Davis's lengthy,
convoluted briefing on this claim leaves its precise constitutional
foundation unclear.         If Davis's argument is that the state courts
failed to provide rel          f under article 11.073, then he only alleges
a violation of state law, which has never provided grounds for
federal constitutional relief. If Davis intends to argue that new
DNA evidence exculpates him, then he presents another version of

his actual-innocence claim that is not a valid basis for federal
habeas corpus review. If Davis alleges that the Court of Criminal
Appeals denied his due process rights by failing to give adequate
consideration to his DNA under article 11.073, he likewise                ls to
present a cognizable federal ground for relief.134              In sum, Davis

does not identify a cognizable basis                  federal relief on this


133
      Answer, Docket Entry No. 88 at 210.
  See Pennsylvania v. Finley, 107 S. Ct. 1990, 1992 (1987) ("States
134

have no obligation to provide postconviction relief .          . ") ;
Hallmark v. Johnson, 118 F.3d 1073, 1080 (5th Cir. 1997)
(" [I] nfirmities in state habeas proceedings do not constitute
grounds for relief in      ral court.         11).




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claim.            The court denies this claim.



G.          False DNA Evidence (claim 9)

            In his ninth ground for relief, Davis contends that "the State

of Texas Department of Public Safety DNA lab has recanted its

entire DNA testimony from [his] 2011 punishment phase re-trial, and

false DNA testimony was therefore presented in Davis's punishment

phase            re-trial. " 135   Davis   bases this   claim on a letter his

attorneys received from the DPS Crime Lab in 2017.                  Based on that

letter,            Davis argues that "his right to due process under the

Fifth, Eighth, and Fourteenth Amendment [s]" was violated by the

State's use of false evidence to obtain his death sentence. 136

Davis's false-evidence claim involves the extraneous                      Blaylock

murder from his 2011 retrial.



            1.       Background

            Davis bases this claim on testimony and evidence about an

extraneous murder which the State presented in his 2011 retrial.

Between the time of his first prosecution and his retrial, the

State developed evidence linking Davis to a murder that occurred in

1988.            The State alleged that in 1988 Davis"robbed the Beverage


     5
13       Petition, Docket Entry No. 30 at 118.
136
         Id. at 129.


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Barn          Mineral Wells,     [Texas,]     abducted and shot the clerk,

nineteen year-old Keith Blaylock, left his body in a remote area,

and abandoned Blaylock's truck nearby-leaving a stocking mask on

the seat of the truck." 137        The State relied heavily on a witness,

Thomas Cason. Cason testified at trial that he gave Davis a loaded

.22 cal          pistol to use in the robbery.      Cason also cut off a leg

of his grandmother's pantyhose and gave them to Davis so he could

cover his face.         Cason drove Davis to          Beverage Barn.      A few

hours later, Cason met Davis who was driving Blaylock's truck.

Davis showed Cason some personal iterns belonging to Blaylock.

Physical evidence connected Davis to the                , such as the cut-off

pantyhose which was found in the later abandoned truck.

         At trial, the parties referred to the pantyhose as a "stocking

mask."       The State presented DNA evidence relating to the stocking

mask.      Uyen Henson, a           ic scientist with the Texas          rtment

of      Public    Safety   Cr       Laboratory,    testified    that    he    was

"surprised" that he "was able to obtain some DNA" from the mask

because it was "degraded" from being "old and it was starting to

break down." 138      The mask contained a mixture of fema             and male




  7
13Postconviction Wr , Findings of Fact, Conclusions of Law, and
Order, Docket Entry No. 34-57 at 214.
138
  Reporter's Record-Vol. 23, Punishment Proceedings, Doc                     Entry
No. 33-30 at 156.


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DNA. 139 Henson explained "the probability of selecting an unrelated

person at random who could be a contributor to this mixture .
among the Caucasian population" was "758,200."                    Henson did not
confirm that Davis had been a contributor to the DNA material on
the mask.            Instead, Henson testified that Davis "could not be

excluded" as a contributor to the DNA. 140

            Davis first raised a challenge to the DNA evidence in his
ninth state habeas application.              Davis based his claim on a letter
his attorneys received from the Texas Forensic                   ence Commission
in 2015.          The letter encouraged criminal law practitioners "with a
currently pending case involving a DNA mixture                 which the resu
could impact              conviction" to "consider requesting confirmation
that         Combined Probability       of   Inclusion/Exclusion               was
calculated by the laboratory using current and proper mixture
interpretation protocols." 141           DPS attempted to reinterpret the DNA
data from the Blaylock murder in 2017. Melissa Haas, a supervisor
for the Texas DPS Crime Lab, provided a letter that described the
efforts at reassessing the data. Haas said that, under the current
DPS protocols, they could not interpret any DNA profiles and the

     9
13       Id. at 165.
  Id. at 168. In closing arguments, the defense characterized it
140

as "very weak DNA in this case" because "this DNA match has got
multiple people 11 and it was "not an identi cation.   Reporter's  11


Record-Vol. 28, Punishment Proceedings, Docket Entry No. 33-35 at
56-57. The State's closing argument only mentioned the stocking
mask and DNA briefly.
 isubsequent Application For Writ Of Habeas Corpus Filed Pursuant
14
To Article 11.071, Section 5, Docket Entry No. 34-80 at 51.


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sample was also "no longer suitable for reinterp retation. " 142

              s's ninth      im argues that the DPS letter proves that the
State         sented false testimony about DNA evidence at tri               Davis

raised this claim in his ninth state habeas application. The Court
of Criminal Appeals did not address the merits at any length, but
dismissed this claim.           Before turning to the merits, the court
discusses whether Davis defaulted this              aim in state court.



         2.    Procedural Bar

         The Court of Criminal Appeals dismissed Davis's ninth habeas
appl          ion under Tex.     Code Crim. Pro. Art. 11.071            §    S(a).
Respondent argues that the Court of Criminal Appeals'                       action
results in a federal procedural bar. 143          The Fifth Circuit has held
that article 11.071 § S(a) is generally an adequate and independent
state procedural bar to federal review.                Barrientes v. Johnson,
221 F.3d 741, 759 {5th Cir. 2000).            The court must decide whether
it is one in this case.

         In response to Respondent's procedural-bar argument,                Davis
cites law in which the           fth Circuit has found that the Court of
Criminal        Appeals'    procedural    determination     in   some       narrow




142
      Answer, Docket Entry No. 88 at 219.
143
          at 215.


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circumstances is not independent of                   law. 144   Davis then says

that "[b]ecause this state procedural default fairly appears to

rest primarily on federal law, or is interwoven with federal law,

it is not independent of federal law" and "this Court's review of

the       aim after the State's procedural default of the              im is de

novo. " 145

              Court of Criminal Appeals can only authorize the           ling of

successive habeas proceedings after an inmate complies with the

strict demands of Texas' abuse-of-the-writ doctrine, codified at

Tex. Code Crim. Pro. art. 11.071 § 5(a).              Under section 5(a), an

inmate can proceed with a successive habeas action only if he shows

applicable new law or             s (§ 5(a)(l)); actual innocence of his

conviction (§ 5(a)(2)); or actual innocence of the death penalty (§

5(a)(3)).          The question of whether section 5(a) results in a

federal procedural bar is usually a simple one.              The Fifth Circuit

generally considers a dismissal under 5(a)(1) to be an adequate and

independent basis to bar federal review.                Speer v. Lumpkin, 824

F. App'x 240, 246 (5th Cir. 2020).

         The Fifth Circuit, however, has recognized a narrow category

of cases in which the Court of Criminal Appeals' dismissal of a

claim was not "independent" of federal law because it had actually


144
      Reply, Docket Entry No. 95 at 19-24.
  5
14    Id. at 27.


                                       -61-
  Case 4:16-cv-01867 Document 99 Filed on 09/04/24 in TXSD Page 62 of 129




considered the merits. Balentine v. Thaler, 626 F.3d 842, 853 (5th

Cir. 2010) (quoting Rivera v. Quarterman, 505 F.3d 349, 359 (5th

Cir. 2007}); see also Davila, 888 F.3d at 188; Rocha v. Thaler, 626

F.3d 815,    837 (5th Cir. 2010}.       The Court of Criminal Appeals

created this category of cases when it began using a "two-step

inquiry         to determine whether dismissal of [an intellectual-

disability Atkins]       im is required H under section 5(a)(1).

Davila, 888 F.3d 179, 188 (5th Cir. 2018) (citing Rocha, 626 F.3d

at 833).     In the first step, the Court of Criminal Appeals bars a

claim when "the factual or legal basis for the new claim was

unavailable as to previous applications.H        Davila, 888 F.3d at 188;

see also Canales v. Stephens, 765 F.3d 551, 565 (5th Cir. 2014).

If the Court of Criminal Appeals stops at this step, the dismissal

does not reach the merits and results in a procedural bar.              The

decision is not procedural,       however,   if the Court of Criminal

Appeals proceeds to the second step and asks if the inmate made a

"prima facie showing" of "sufficient specific facts" to "me

further review."     Rivera v. Quarterman, 505 F.3d 349, 359 (5th Cir.

2007).     When the Court of Criminal Appeals engages in its "prima

facie" review, its decision rests on the merits of the claim and

will not quali      to bar federal review.      See Busby v. Davis, 925

F.3d 699, 709 (5th Cir. 2019).

     This narrow category of cases, however, only exists when "[i)n

some form, the state court has [made] a            r indication that the


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merits of the claims were reached."             Balentine, 626 F.3d at 854.
Here, the Court of Criminal Appeals' resolution of the                   im was

unclear.       On one hand, the Court of Criminal Appeals "di             ssed"

Davis's claims,        signaling a procedural action.           See Ex parte
Torres, 943 S.W.2d 469, 472 (Tex. Crim. App. 1997) (indicating that
a "denial" signifies adjudication on the merits, while "di                ssal"

reflects a claim declined on grounds other than upon the merits).
On the other, the Court of Criminal Appeals found that Davis had

not made a "prima facie showing" on                   ral claim 9.     This is

"merits-based language" which sometimes indicates that                 Court of

Criminal Appeals' decision was not independent of                          law.
Davila, 888 F.3d at 189.          The Court of Criminal Appeals' decision
contains contradictory signals as to whether it was a procedural or
merits-based decision.

         A federal court may help clear up any confusion in an unclear
order by looking at a petitioner's state-court briefing. See
Canales v. Stephens, 765 F.3d 551, 565 (5th Cir. 2014).                 Davis's

br      fing specifically argued that federal claim nine (state claim
two) was previously "unavailable" under section 5 ( a) (1). 146 Davis's

  Postconviction Writ, Subsequent Appl
146
                                            ion for Writ of Habeas
Corpus Filed Pursuant to Article 11.071, Section 5; Exhibits,
Doc    Entry No. 34-80 at 63. Davis asked the state courts to
allow review of federal claim eight (state claim one) under article
11.073. See id. at 21. Davis did not argue that the other   aims he
raised in his ninth habeas application were previously unavailable,
thus      Court of Criminal Appeals could dismiss then on those
                                                     (continued ...)


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briefing did not ask the Court of Criminal Appeals to allow

successive review based on a prima facie showing.                 Even so, the

record is unclear as to whether the Court of Criminal Appeals

decided this claim under the availability or prima facie prong of

its section 5(a)(1) analysis.            Given the lack of clarity in the

record, and the fact that this claim is conclusively without merit,

the court will consider the merits of claim nine.



         3.    Federal Review

         Davis's petition leaves the constitutional basis for his c             im

somewhat unclear.         Davis refers to his claim as involving "false

DNA testimony. 11147        Petitioners generally bring false- evidence

claims under general due process jurisprudence flowing from Giglio

v. United States, 92 S. Ct. 763 (1972) and Napue v. Illinois, 79 S.

Ct. 1173 (1959).        To demonstrate a constitutional vio          ion based

on the        State's use of false evidence or testimony,             a habeas

petitioner must show that "(l) the testimony was actually false,

(2) the state knew it was false,              and (3)    [it]   was material."

Faulder v. Johnson, 81 F.3d 515, 519 (5th Cir. 1996).

         In his Reply, however, Davis clarifies that he actually bases

his claim on the Eighth Amendment and Johnson v. Mississippi, 108

(...continued)
grounds alone.
147
      Petition, Docket Entry No. 30 at 118.


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S. Ct. 1981 (1988). 148         It is uncertain why Davis has chosen to

bring his arguments under the Johnson framework.             In Johnson, "the

Supreme Court considered a death sentence that was predicated on

the jury's finding of an aggravating factor-a prior               olent felony

conviction-where that prior conviction               was vacated after his

capital trial."         Rhoades v. Davis, 914 F.3d 357,         375   (5th Cir.

2019).        Most "cases that have           ied upon Johnson" do so "to

determine whether evidence of a criminal conviction or conduct may

be properly admitted at sentencing."              Hernandez v. Johnson, 213

F.3d 243, 252 (5th Cir. 2000).             In essence, Johnson involved "a

materially inaccurate criminal conviction" rather than "purportedly

materially inaccurate testimony" such as is issue in this case.



         Davis has not identified any federal precedent indicating that

the Supreme Court in Johnson intended to create an Eighth Amendment

      lse-evidence claim which differed from the Napue/Giglio line of

cases.        The structural concern in         Johnson differs the fact-

intensive analysis required in traditional false-evidence claims. 149


148
      Reply, Docket Entry No. 95 at 35-41.
  Davis possibly rel s on Johnson to evade the "knowing"
149

requirement of the Napue/Giglio line of cases. Reply, Docket Entry
No. 95 at 40. Assuming that Johnson was actionable in a similar
context, the Fifth Circuit has noted that such a claim would not
impose a "knowing" requirement on the State. Hernandez, 213 F.3d
at 252. Nevertheless, to sustain a claim under Johnson a habeas
pet ioner would still need to establish that the testimony was
"false and material." Hernandez, 213 F.3d at 252.


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But even approaching the question from the Johnson framework, Davis

has not shown that the testimony was false or material.                Davis does

not point to any statement by the State's DNA expert that was

objectively false at the time of trial.           Davis, in fact, overstates

the findings from the                r that DPS sent to his attorney.           The

DPS              did not admit any error in the evidence that              State

relied on at trial.          The statement by the Texas Forens           Science

Commission that it "can no longer interpret the profile" because

under "the current protocols the mixture is now too complex,, is not

a confession that the trial evidence was false. 158               Instead, the

2017 reassessment meant that reinterpretation of the DNA material

was not possible.        The revised DNA test          does not exculpate Davis

of the Blaylock murder, it only indicates that retesting was not

possible.

         Davis cannot show that any error in the DNA testing was

mate       1.      The DNA testimony was only one piece in a highly

incriminatory case              the Blaylock murder.         Cason's testimony

contained        numerous      cts   that   strongly    pointed   to    Davis    as

Blaylock's killer.          For example, Cason testified that he had given

the stocking cap to            s, that Davis possessed evidence taken from

Blaylock,        and that Davis got rid of evidence relating to the

murder.         With Cason's testimony linking Davis to the stocking cap


  Petition for a Writ
150                              Habeas Corpus Exhibits, Docket Entry No.
40-1 at 414.


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and the crime,             jury would see little difference between

testimony about testing results that could not exclude Davis as a

contributor to the DNA and testimony that the DNA was untestable.

The 2017 reassessment left Davis in much the same position as he

was in the second punishment hearing-no DNA definitively connected

him to the stocking mask, but Cason's testimony did.

        Moreover,   the DNA evidence was only one minor piece of a

highly incriminating case for a death sentence.               One jury had

already returned a death sentence for Davis without considering the

Blaylock murder.      At retri    , the State arg ued for a sentence of

death based on Davis's extensive criminal history.           Beginning with

a burglary of a habitation at age fifteen, Davis committed numerous

crimes as a juveni          De     e efforts to help Davis, he did not

reform his character.       Davis was expelled from junior high school

after    various    complaints   about    his   violent   temper.    At   age

eighteen, Davis was convicted for delivery of marijuana.            Whi     on

probation Davis committed various violent acts and, eventually, he
was sent to         son.    Davis later absconded when assigned to a

parole facility, resulting in a prison sentence for rape. Davis
abused a g      friend and choked his mother.        Davis shot at people.

Davis tied up and beat a man during a robbery. Davis assaulted his

wife.    The State showed that Davis and his wife were arrested only

day s after the Foster murder when they attempted to kill another

man.      While incarcerated,     Davis    joined racist gangs,     behaved


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poorly, possessed weapons, refused to obey orders, threatened

officers, and possessed a cell phone.                 The State also presented

evidence about the sheer brutality and viciousness of the murder

for which Davis had been convicted.              Within the whole context of

the penalty retrial, and given the fact that numerous other facts

connected Davis to the Blaylock murder without the DNA evidence,

Davis has not shown a reasonable likelihood that the result would

have been different.

         In conclusion, Davis has not shown that his DNA claim entitles

him to federal habeas rel          f.   The court will deny this claim.



H.       Brady (c1aim 10)

         Under a heading stating that "the state violated Brady v.

Maryland       by   not   disclosing    the    fact   that   McDonald     had   been

suspected of other home invasions involving white supremacists," 151

Davis contends that the State did not disclose:                    ( 1)   "offense

reports which describe McDonald's criminal conduct and association

with white supremacist organizations" including "a home invasion by

McDonald and other members of her                'skinhead'    gang" 152 and     ( 2)

"three flyers in [the victim's] jacket found near his body." 153

         In Brady v. Maryland, 83 S. Ct. 1194, 1196 (1963), the Supreme


151
      Petition, Docket Entry No. 30 at 134.
152
      Id. at 138.
153
      Id. at 141.


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Court held that "the suppression by the prosecution of evidence

favorable to the accused upon request violates due process where

the      evidence    is    material   either    to    guilt    or to   punishment,

irrespective of the good faith or bad faith of the prosecution."

"There are three components of a true Brady violation:                      (1) the

evidence . . . must be favorable to the accused; (2) that evidence

must have been            suppressed by the         State, either willfully or

inadvertently; and (3) prejudice must have ensued."                    Canales v.

Stephens, 765 F.3d 551, 574 (5th Cir. 2014).                  The court will first

address whether this claim is procedurally barred and then discuss

the merits.



         1.      Procedural Bar

         Davis     raised    this     claim    in    his   ninth    state   habeas

application.154        As with claim 9, Davis argues that the Court of

Criminal Appeals'           rejection of this claim was interwoven with

federal law, meaning that it cannot serve as a procedural bar for

the purposes of federal review. Unlike his ninth claim, Davis did

not argue in state court that his Brady claim was previously

unavailable under 5 (a) (1) .            Davis instead asked the Court of

Criminal Appeals to allow successive review under "subsections (2)

and (3) [of Article 11.071]," which do not include the same two-



  Subsequent Application for Writ of Habeas Corpus Filed Pursuant
154

to Article 11.071, Section 5, Docket Entry No. 34-80 at 69-83.


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step process which interweaves federal law into the procedural

decision. 155      There is no reason to assume that the jurisprudence
allowing review under section 5(a)(l)'s two-part test applies to
this claim.

         Some confusion still exists because the Court of Criminal
Appeals made the blanket statement that Davis had not made a "prima
facie      showing"    on   his   claims   but   also   dismissed   his   ninth
application. 156      Also, the Fifth Circuit has not spoken with one
voice concerning whether section 5(a)(2) and (3) are an adequate
and independent basis to bar federal review. 157                 This court's

review, however, would travel the same path whether the Court of

155
      Postconviction Writ, Docket Entry No. 80 at 72.
156
      Opinion, Docket Entry No. 82 at 5.
  On one hand, the Fifth Circuit has said that "when the [Court of
157

Criminal Appeals] determines that a successive state habeas
application does not satis § 5(a)(3) . . . the [Court of Criminal
Appeals] need not, and does not, consider the merits of the
underlying federal constitutional claim." Rocha v. Thaler, 626
F.3d 815, 819 (5th Cir. 2010); see also Butler v. Stephens, 625 F.
App'x 641, 659 (5th Cir. 2015) (finding a Strickland claim
procedurally barred after a dismissal under 5(a)(3)); Adams v.
Thaler, 421 F. App'x 322, 331 (5th Cir. 2011). Elsewhere, however,
the Fifth Circuit has said that, "[i] f the [Court of Criminal
Appeals] dismisses the petition under§ 5(a)(2) or§ 5(a)(3), this
Court can also review it under the standard in§ 2254(d)," which
suggests that it has adjudicated the merits of a pet ioner' s
claims. Canales v. Stephens, 765 F.3d 551, 565 (5th Cir. 2014)
(looking at various claims but still finding them procedurally
barred); see also Busby v. Davis, 925 F.3d 699, 710 (5th Cir. 2019)
(finding that dismissal of an Atkins claim under 5(a)(3)
"necessarily considers the merits of a federal constitutional
claim" and is thus "not procedurally defaulted, as that concept has
been expressed in federal decisions . . . . ").


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Criminal Appeals dismissed this claim or engaged with the merits.

Davis alleges that he can show "cause" and "prejudice" to overcome
the procedural bar because the State suppressed evidence.� 58 "Cause
to excuse a procedurally defaulted Brady claim parallels the
suppression component of a Brady claim, and prejudice parallels
materiality."         Medina v. Lumpkin,            F. App'x __,       2024 WL
3833291, at *13 (5th Cir. Aug. 15, 2024). Any analysis of whether
Davis can overcome the procedural bar necessa               ly addresses the
substance of this Brady claim.

         For the reasons discussed below, the court finds that Davis's
Brady claim lacks mer         , under either a procedural or substantive
review.       The court will review the alleged suppression of offense
reports and promotional flyers separately.



         2.    Offense Reports Mentioning Tina McDonald

         According to Davis,         State did not turn over a report from
the Pasadena Police Department showing that McDonald was suspected
of committing a different home-invasion assault in the company of
other skinheads approximately six months before Foster's murder.
As described by Respondent,

         [r]ecords from the Pasadena Police Department indicate
         that the group went to an apartment looking for an
         indivictual named Springer that owed money; McDonald
         knocked on the door and was allowed inside by Springer's

158
      Reply, Docket Entry No. 95 at 83-102.


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         roommate; approximately fifteen people followed her and
         started attacking the roommate thinking he was Springer;
         McDonald yelled "That's not him" and    suspects stopped
         beating the victim. No charges were filed against
         McDonald. 159

The records show that the District Attorney's Office "would not
accept any charges against Tina McDonald n because she "was given

permission to enter the apartment, and the fact that . . . neither
the victim nor the witness saw Tina assault the victim . .                      nl60


Davis argues that the State did not turn over the Pasadena police
reports prior to his 1992 trial. 161

         Davis does not        lege any direct connection between the
Pasadena home invasion and the Foster murder.                 Davis, however,
claims that the police records could have supported a theory that
McDonald may have killed Foster with the aid of other skinheads.

159
      Answer, Docket Entry No. 88, 164-65 (citations omitted).
  Exhibit 1 State Successor Writ I Exhibits-Claim 3 Brady Exhibits
160

(1-9), Docket Entry No. 40-2 at 12.
  Davis concedes that the defense possessed the Pasadena offense
161

report prior his 2011 retrial. See Pet ion, Docket Entry No. 30
at 137. While the defense otherwise tried to attribute the murder
to McDonald, neither        introduced the Pasadena police records
into evidence or otherwise relied on them the 2011 retrial. Davis
does not allege the Pasadena police reports themselves would have
been admissible in the 1992 trial. McDonald was not a witness at
the 1992 trial and was never charged in the instant offense. Davis
has not proposed any means by which the allegedly suppres    police
report    self could have come before jurors.      Davis, instead,
speculates that the police report would have led to investigative
avenues which would have, apparently, resulted in some kind of
admissible evidence inculpating McDonald.


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Davis describes the value the defense would have found in the

Pasadena police report as follows:

         1) the fact that there are different types       clubs of
         skinheads; 2) the         that [McDonald] belonged to and
         ran with the violent, drug-using, homicidal club; 3) the
         fact that there are witnesses who had knowledge of their
         criminal activities and even lived with some of them; 4)
         the fact that McDonald associated with individuals
         included alternate suspects, such as Bryan      caner, or
         Mike Woodworth; 5) that Bryan Falconer had a reputation
         of being "bad news. 11162

         Davis      so says that "[t]he withheld offense report also made
another revelation . . . that this violent Skinhead group a                hang

out at the Axiom Club. 11163          Davis contends that the information
would have been useful because, as the Pasadena offense report was

found in files relating to the Foster murder,                   suggests that
McDonald and other skinheads were suspects in the                  ant case.

         Respondent's arguments focus on Brady's materiality prong.
The court,         however,    observes that information about McDonald's
earlier crime may have been available to Davis.              Information that
a criminal defendant can easily discover is not "suppressed" or
"withheld" within the meaning of Brady.               United States v. Brown,

650 F.3d 581,         588     (5th Cir. 2011)   (finding that to have been

"suppressed" the evidence must not have been discoverable through
the defendant's due diligence).           A connection to skinhead culture
was present throughout the prosecution.             Trial counsel questioned

162
      Reply, Docket Entry No. 95 at 9 6.
163
      Id. at 97.


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witnesses in the 1992 trial about McDonald's violent acts with

large groups of skinheads.            The defense knew that charges were

pending       against   McDonald    for    auto   theft,    attempted    murder,

aggravated robbery, and credit card abuse. 164             Davis knew about his

wi      's former boyfriend Bryan Falconer who likely participated in

the Pasadena home invasion with McDonald. 165              Davis knew that his

wife and other skinheads frequented clubs such as Axiom. 166

          Elsewhere, Davis has conceded that a diligent attorney could

have developed information about McFarland's association and crimes

with      other    skinheads. 167     In   Davis's    seventh    state   habeas

application,       he raised a Strickland claim which,            essentially,

concedes that material similar to (if not identical to) that in his



  See Statement of Facts-Vol. 4 [1992], Docket Entry No. 32-6 at
164

221.
165
   Statement of Facts-Vol. 21 [1992], Docket Entry No. 32 3 at 169-
7 0.   The Pasadena police reports refer to the involvement of
someone with the surname Falconer, but the police initially thought
his surname was Faulkner.         Sealed Exhibits, Docket Entry No.
40    at 8, 11. The parties have not discussed whether the Pasadena
police reports refer to McDonald's former boyfriend.
166
      Statement of Facts-Vol. 19 [1992], Docket Entry No. 32-21 at 42.
1
 �In his seventh application, Davis argued that the defense
attorneys in his second trial were "ineffective for not presenting
evidence regarding Tina McDonald's violent and aggressive
character" which included assaults committed with her former
boyfriend, skinhead Bryan Falconer.    � 11. 071 Application for
Writ of Habeas Corpus, Docket Entry No. 34-53 at 60, 63. Davis has
not explained why the information was not equally available to his
attorneys in 1992.


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federal Brady claim was available before any disclosure of the
Pasadena pol              reports.     The court questions whether Davis has
shown that trial counsel could not have uncovered information about

the Pasadena crime. 168

         But even assuming that the information was both favorable to
Davis and suppressed, Respondent persuasively argues that                         was
not mater           169
                          "[E]vidence is 'material' within the meaning of
Brady when there is a reasonable probability that, had the evidence
been disclosed,           the result of the proceeding would have been
different."           Cone    v.     Bell,    129   S.   Ct.   1769,    1782   (2009).
Conjecture and speculation mark the path from the Pasadena police
report to the arguments in Davis's tenth claim.                        Davis does not
allege any direct connection between the Pasadena home invasion and
Foster's murder.           The record shows that McDonald was present during
the Foster murder.           Any suggestion that other skinheads committed
the Foster murder because McDonald associated with them is sheer
speculation.        Davis has not pointed to any evidence positively

identifying any skinhead friend who allegedly committed the Foster
murder with her.           The Pasadena crime does not provide any insight


  The Court of Criminal Appeals found in the
168
                                                  ated Strickland
claim that tr 1 counsel "was put on notice that Tina McDonald
'would bury' [Davis] with information about criminal acts if she
were attacked; that such tactic would not help [Davis] and would
likely backfire       " See Postconviction Wr , Findings of Fact
and Conclusions of Law, and Order, Docket Entry No. 34 57 at 224.
169
      Answer, Doc         Entry No. 88 at 224.


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into whether or not Davis fabricated his confession, which was the
most important evidence against him.                      At best, the police report
provides a challenge to a non-testifying co-defendant's character
through her involvement in an unrelated offense six months be                        re
Davis's crime.

            In light of all the evidence, the court finds that Davis has
not         shown        that   the   Pasadena   police    report   was   material   as
understood by Brady.                      Strickler v. Greene, 119 S. Ct. 1936,
1948 (1999).              Whether considered under the cause-and-prejudice test
or on the merits, the court finds that Davis has not shown that his
Brady claim relating to McDonald's crimes has arguable merit.



                    3.      The Promotional Flyers

            Davis also contends that the State suppressed promotional
flyers that were found in a jean jacket near the victim's body.

Davis says that the State suppressed "six promotional flyers, or
advertisements, for various clubs including four from the Axiom
Club and two from the Pik 'n Pak. " 170                    Davis, however, has never
presented his allegations about the promotional flyers to the state

courts.          Davis's Brady claim is unexhausted insofar as                relates

to the promotional flyers.
            Alternatively, Davis has not shown that this portion of his


17
     0
         Id. at 226.


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Brady claim merits habeas relief.                Respondent contends that the
flyers were not kept from the defense.                At trial, City of Humble
Police Detective Charles Smith testified that a "bunch of flyers,
advertisement type things for bands" were found at the crime
scene.171         Detective Smith testified that one of the flyers was in
the courtroom and the others were "in a box in the next room. " 172
In fact, one of the flyers was admitted into evidence. 173

            Rather than being suppressed, the flyers were mentioned at
trial and were present in the courthouse.                 Nothing in the record
demonstrates that trial counsel could not have had access to the
flyers, had the defense so desired.                See United States v. Brown,
628 F.2d 471, 473 (5th Cir. 1980) (finding that "the defendant has

no Brady claim" when "information is fully available to a defendant
at the time of t            al and his only reason for not obtaining and
presenting the evidence to the Court is his lack of diligence").

            More important, Respondent argues that any alleged suppression
of the flyers was not material. 174           Davis says that the value in the
flyers was that four of them came from the Axiom club. Davis links
the flyers to information in the Pasadena police report that

1
  Statement of Facts-Vol. 18 [1992], Jury Trial, Docket Entry No.
    71
32-20 at 76.
     2
17       Id. at 22.
1
    73   Statement of Facts-Vol. 1 7 [ 1992], Docket Entry No. 32 19 at 12.
:
    7
        'Answer, Docket Entry No. 88 at 22 4.


                                          -77-
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skinheads, including those with whom Tina McDonald associated with,

would "hang out" at the Axiom club. 175             Because some of the flyers

referred to dates later than the date spe               fied in the indictment,

Davis argues that Foster was actually in those clubs on the dates

found           on the   promot     1    flyers.    According   to    Davis,   this

"provided an opportunity for Tina McDonald and members of her

Skinhead group to come              o contact with Foster after the time that

Davis stated he kill               Foster-late Friday night/early Saturday
                         ul 76
morning

               This argument me    s little serious discussion.        As      from

the one introduced at trial, Respondent contends that the flyers

are obviously publicity                 upcoming shows. 177 Eyewitness testimony

showed that Davis had left the Pik 'n Pak club with the victim

withing the time frame              leged in the indictment.         Even assuming

some connection between McDonald and the Axiom club, no evidence

places Foster in that club after that date.              And, as discussed with

regard to Davis's related Strickland argument, no serious evidence

calls into question the timing of his death. In short, Davis has

not shown that the flyers were suppres                  or that they would have


 75
:        Pet    ion, Docket Entry No. 30 at 51.
176
         Id. at 51.
1
    77Answer, Docket Entry No. 88 at 227.


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been material.



I.      Inte11ectua1 Disabi1ity (c1aim 11)

        In his eleventh claim, Davis           aims that he is a person with

intellectual disabil           s who should be exempt from execution under
Atkins v. Virginia, 122 S. Ct. 2242 (2002).              Davis has repeatedly
raised Atkins claims over the past two decades.                  The Court of
Criminal Appeals has denied the merits of Davis's Atkins claims
three separate times (in his fifth, seventh, and ninth state habeas
applications).         Davis has not shown that he merits federal habeas
rel     f on this claim.



        1.    Atkins

        Courts    considering    an   Atkins    claim   employ   a   "generally
accepted,        uncontroversial      intellectual-disability        diagnostic
definition,n which considers three factors:

        (1) intellectual-functioning deficits (indicated by
        an IQ score approximately two standard deviations
        below the mean-i.e., a score of roughly 70-adjusted
        for the standard error of measurement; (2) adaptive
        deficits (the inabil     to learn basic skills and
        adjust behavior to changing circumstances); and (3)
        the onset of these deficits whi    still a minor.

Moore v. Texas, 137 S. Ct. 1039, 1045              (2017); see also Hall v.
F 1 orida, 134 S. Ct. 19 8 6, 19 93-94 (2014) .

        The extensive state proceedings addressing Davis's Atkins
claims       provide    a   comprehensive     record    of   s   intellectual


                                       -79-
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functioning.             Before reviewing this claim, however, the court notes

two crucial defects in Davis's federal briefing.                        First, Davis

makes            no   effort   to   address   the    significant    changes   in   the

evidentiary support for his claim that have transpired since then.

Second, Davis completely fails to argue that he has satisfied the

AEDPA standard on his claim.                   Davis's Reply, in fact, does not

address his Atkins claim at all. Davis's failure to brief the AEDPA

standard is an independent and sufficient basis to deny habeas

relief.



            2.        State Court Proceedings Before Second Punishment Hearing

            Davis first raised an intellectual-disability claim in the

fourth habeas application, which he                   led before the Supreme Court

issued the Atkins decision.               The Court of Criminal Appeals denied

that application as an abuse of the writ. 178                      The Supreme Court

subsequently held in Atkins that the execution of persons suffering

from intellectual disability violated the Eighth Amendment.                    Davis

renewed           an intellectual-disability claim in his fifth habeas

application. 179            In 2004, the state habeas court held a six-day

evidentiary hearing to resolve the Atkins claim.                     The state court


     8
17       Order, Ex parte Davis, No. 40,339-04, Docket Entry No. 34-11 at
3.
  Application for Postconviction Writ of Habeas Corpus and Motion
179

for Stay of Execution, Docket Entry No. 34-24 at 7-32.


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had before it three IQ tests that were performed before Davis

received a death sentence, only one of which could possibly qualify

him for a diagnosis of intellectual disability. 180                Even then, the

parties debated whether that particular test was an adequate and

reliable measure of intelligence and whether it could dependably

support a diagnosis of intellectual disability. 181

         Davis primarily relied on testimony from a Dr. Gilda Kessner

who opined that her testing permitted a diagnosis of intellectual

disability.         The State relied heavily on testimony from Dr. George

Denkowski       whose    testing    excluded   Davis   from   an   intellectual­

disability diagnosis. 182          The state court found that Davis did not

qualify for a diagnosis of intellectual disability under any of

Atkins's three prongs.183            In doing so,      the state habeas court

relied on Dr. Denkowski's testing and testimony, as well as the

Court of Criminal Appeals' interpretation of Atkins in Ex parte

Briseno, 135 S.W.3d 1 (Tex. Crim. App. 2004) .184



         3.    Retrial


  Supplemental Postconviction, Trial Court's Findings of Fact,
180

Conclusions of Law, Docket Entry No. 34-23 at 144-48.
181   Id. at 147-50.
182   Id. at 154.
183
      Id. at 177-79.
184
      Id. at 142-43, 163, 175, 177-78.


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         By the time of Davis's retrial, Texas law allowed a capital

defendant to have a jury decide whether he is intellectually

disabled.       See Gallo v. State, 238 S.W.3d 757, 769-70 (Tex. Crim.

App. 2007).       Davis did not raise any Atkins issue in the retrial of

his      punishment. 185      The defense's    change   in    position    followed

retesting       in   which     Dr.   Kessner   retracted     her    opinion    about

intellectual disability.             Dr. Kessner's new testing found that

Davis was "on the cusp of low average to borderline intellectual

functioning" but not intellectually disabled. 186                  In other words,

Davis's strongest witness from his habeas hearing reassessed her

opinion and found that Davis did not suffer from intellectual

disability.

         The   State,      nevertheless,   presented    trial      testimony   from

forensic psychologist Dr. Timothy Proctor showing that Davis had

educational deficits, but not intellectual disability. 187



         4.    Seventh State Habeas Application

         Davis included an Atkins claim in his seventh state habeas




  Postconviction Writ, State's Proposed Findings of Fact,
185

Conclusions of Law, and Order, Docket Entry No. 34-55 at 1268.
186
      Ex parte Davis, No. WR-40,339-09, 2020 WL 1557291, at *2.

  Reporter's Record-Vol. 27 [2011], Punishment Proceedings, Docket
187

Entry No. 33-34 at 186-94.


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application on November 6, 2012. 188             Davis did not adduce any new

evidence or expert testimony to support that Atkins claim. Davis's

seventh habeas application distinguished                 self from his earlier

Atkins claims by arguing that Texas jurisprudence's reliance on the

Briseno factors was unconstitutional.              Davis's Atkins claim faced

a serious hurdle: Dr. Kessner,              had retracted her diagnosis of

intellectual disability.

           The state habeas court reviewed the earlier testing and

concluded that Davis was not a person "with mental retardation or

even borderline intelligence; and, that [Davis] instead has average

or, at worst, low ave              intelligence. " 189   The state habeas court

again applied the Briseno factors and found that Davis had not met

the       second Atkins prong.           The state habeas court ultimately

concluded          that   the   Atkins   claim   in   Davis's   seventh   habeas

application was "procedurally barred" because Davis "af               rmatively

waived the presentation of the issue during his 2011 punishment

hearing. " 190 Alternative        , the state habeas court found           Davis

had         iled to meet all three Atkins prongs and denied the merits.191




  Init l Application
188
                          Writ of Habeas Corpus (Filed Pursuant To
Tex. Code Crim. Proc. Art. 11.071), Doc    Entry No. 34-53 at 155-
59.

            at 242.
1 90
       Id. at 2 5 4 .
191
       Id. at 254-55.


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         5.    Ninth State Habeas Application

         Davis's ninth habeas application also included an Atkins

claim.        Davis's ninth application relied on two major changes to

Texas cases.        First, in 2017 the Supreme Court denounced the Court

of Criminal Appeals' reliance on the Briseno factors when deciding

Atkins cases.        See Moore, 137 S. Ct. at 1045; see also In re Milam,

838 F. App'x 796, 798 (5th Cir. 2020) (describing Moore).               Second,

Dr. Denkowski's methodology in Atkins cases had been disavowed by

the courts. 192     Davis's briefing discussed both changes, but did not

include any new evidence or present new psychological findings.

Davis, however, ignored the adjudication from his seventh habeas

application and did not address Dr. Kessner's retraction of her

intellectual-disability diagnosis.

         The Court of Criminal Appeals remanded the case to the lower

court to determine whether Davis could proceed in a successive

habeas application raising an Atkins claim and, if so, whether it

merited habeas relief.          The state district court recommended that

the Court of Criminal Appeals dismiss the Atkins claim as abuse of

the writ under Article 11.071,             § 5. 193   The Court of Criminal

  See Butler v. Stephens, 625 F. App'x 641, 644-45 (5th Cir. 2015);
192

Maldonado v. Thaler, 625 F.3d 229, 234-35 (5th Cir. 2010); Pierce
v. Thaler, 604 F.3d 197, 214-16 (5th Cir. 2010).

  Supplemental Postconviction, State's Proposed Findings of Fact
193

and Conclusions of Law, Docket Entry No. 34-56 at at 253-56. The
lower habeas court recommended the dismissal of Davis's Atkins
claim on procedural grounds.    Because the lower court did not
                                                   (continued ...)


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Appeals ultimately "reviewed all the evidence in the writ record,

[Davis's] filings, and the relevant portions of the direct appeal

record," and found that Davis did not make "an adequate prima facie

showing regarding the claim of intellectual disability." 194             In its

role as the ultimate fact finder, the Court of Criminal Appeals

dismissed the Atkins claim as an abuse of the writ, a decision

which qualifies for AEDPA deference in the Atkins context.                      See

Busby, 925 F.3d at 707-10.



         6.     The Atkins Claim in Davis's Federal Petition

         After    raising    Atkins   claims    in   various    state    habeas

applications, Davis now seeks federal habeas relief.                    Davis's

federal petition largely grounds his most-recent Atkins claim in

the      testimony,    evidence,   and    psychological   opinions    from      the

evidentiary hearing held by the state courts during his fifth

habeas action.        Davis bases his federal Atkins claim on:

          (1)   criticism of the standards formerly used by Texas
                courts that have since been repudiated;


(...continued)
consider the most-recent Supreme Court precedent, however, the
Court of Criminal Appeals considered the issue in its role as the
ultimate fact finder.

  Ex parte Davis, No. WR-40,339-09, 2020 WL 1557291, at *3 (Tex.
194

Crim. App. Apr. 1, 2020).       In a departure from traditional
procedural default jurisprudence, the Fifth Circuit will consider
the state court's finding that the inmate made an inadequate prima
facie showing of intellectual disability as a merits-based
adjudication. See Busby v. Davis, 925 F.3d 699, 707-10 (5th Cir.
2019).


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          (2)   criticism of the methodology and testimony of the
                State's expert, Dr. Denkowski;

          (3)   assessment of record evidence and testing performed
                by Dr. Kessner;

          (4)   a review of the evidence presented during the 2004
                hearing and considered by the state courts in
                rejecting his Atkins claim; and

          (5)   an opinion from an educational psychologist, Dr.
                Denis W. Keyes, who did not perform any testing but
                opined in 2002 that "strong evidence" existed that
                Davis was intellectually disabled.

         Because Davis's federal petition copies the language from his

ninth state habeas application nearly word-for-word, he briefs the

state standard to allow successive habeas review and argues that

"[t]he evidence .          . raises a prima facie case that Mr. Davis is

intellectually disabled                 ,, 195



         Davis presents his claim as if nothing transpired after the

Court of Criminal Appeals denied the Atkins claim in his fifth

habeas application. But much has happened to weaken Davis's Atkins

claim since then.          Davis no longer serves the same sentence he

challenged in that proceeding.            Davis's main expert, Dr. Kessner,

no longer opines that he is intellectually disabled.                  Davis does

not      discuss    his   counsel's   choice     not   to   raise   intellectual

disability in the 2011 retrial.          Davis's briefing ignores the more­

recent state decisions which address the death sentence he now

  Com:pare id. at 149-175 with Subsequent Application for Writ of
195

Habeas Corpus Filed Pursuant to Article 11.071, Section 5;
Exhibits, Docket Entry No. 34-80 at 84-120.


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serves.

        Davis's arguments that the state courts may have relied on

improper standards or discredited testimony at some point cannot

carry the day.         It is true that much has transpired in Atkins

jurisprudence since the state courts held an evidentiary hearing on

his intellectual-disability claim in 2004.              Since the time, the

Supreme Court has rejected the Court of Criminal Appeals' Briseno

standards. See Moore, 137 S. Ct. at 1048-53.              Testimony from the

State's former expert Dr. Denkowski, a frequent expert in Atkins

cases, has been discredited.          But Davis's petition fails to meet

his affirmative burden to prove that he suffers from intellectual

disability.      Davis does not present any psychological evidence that

credibly shows that he suffers from an IQ which qualifies him for

a diagnosis of intellectual disability.          Davis's petition, in fact,

lacks candor because he does not discuss Dr. Kessner's disavowal of

her prior diagnosis.

        In the end,     Davis bears the burden of proving his Atkins

claim.      Davis does not meet his burden, but he instead fails to be

forthright about the evidence.           Davis falls far short of showing

that the state courts acted contrary to Supreme Court law or

unreasonably in repeatedly denying his Atkins claim.                The court

will deny this claim.



J.      Ineffective Assistance of Counsel (claims 12 and 18)




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       Davis's     petition   alleges   numerous    deficiencies   in     the

representation provided by his trial attorneys.              In his twelfth

claim, Davis alleges that his attorneys in the 1991 trial and his

2011       penalty-only   retrial   provided   ineffective   assistance    by

failing to:

       •       interview and present eyewitnesses to the crime
               during his trial in 1992 (claim 12(b), (c));

       •       present a false confession expert during retrial of
               punishment in 2011 (claim 12(d));

       •       present DNA evidence during retrial that Tina
               McDonald could not be excluded as the source of a
               hair found on Foster's shirt (claim 12(e));

       •       present evidence during retrial regarding Tina
               McDonald's violent and aggressive character (claim
               12( f));

       •       question Margie Kessler during retrial about calls
               she received from Davis just before, and after, he
               confessed (claim 12(g));

       •       effectively present evidence to rebut the State's
               case for future dangerousness (claim 12(h));

       •       present foundational mitigation evidence         during
               retrial from lay witnesses (claim 12(i));

       •       call a social historian to testify            regarding
               Davis's life history (claim 12(j));

       •       object during retrial to the admission of the mask
               as a whole (claim 12(k));

       •       present expert testimony during retrial regarding
               the DNA on the stocking (claim 12(1)); and

       •       retrial and on state habeas to effectively
               investigate and present Davis's Eighth Amendment
               intellectual disability claim (claim 12(m)).



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        In      im eighteen, Davis also argues that his 2011 attorneys

were inef         ive for       failing    to    preserve   certain    issues     r

appellate review.

        A reviewing court assesses counsel's representation under the

standards established in Strickland v. Washington, 104 S. Ct. 2052

(1984). To prevail under the Strickland standard,                      a criminal

defendant must demonstrate (1) that his counsel's performance was

deficient and         (2)    that the deficient performance resulted in

prejudice.       Id. at 2064.       To satisfy the defi         ent-performance

prong, "the defendant must show that counsel's representation fell

below an objective standard of reasonableness."                  Id.    This is a

"highly deferential" inquiry that requires "a strong presumption

that counsel's conduct falls within the wide range of reasonable

professional assistance."                 at 2065.    To satisfy the prejudice

prong,       "[t) he defendant must show that there is a reasonable

probabil       y that,      but for counsel's unpro         ssional errors,     the

result of the proceeding would have been different."                     at 2068.

A habeas petitioner must "affirmatively prove prejudice."                  Id. at

2067.

        With the exception of sub-claim 12 (m),             Davis exhausted his

Strickland arguments in state court.               A federal court's review of

the state court's application of Strickland is "doubly deferential."

Knowles v. Mirzayance, 129 S. Ct. 1411, 1413                (2009).    Under that

review,      "[t]he   pivotal question is whether the state court's

application of the Strickland standard was unreasonable.                 Richter,


                                          -89-
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131 S.        Ct.    at 785.   Davis,   therefore,    must overcome the doubly

deferential AEDPA standard before federal relief is available for

most of his Strickland arguments.                    Davis's briefing,    however,

largely copies the arguments he presented in his state litigation

without making any attempt to shoulder his AEDPA burden.                   Davis's

failure to brief, much less meet, his AEDPA burden is an independent

and sufficient reason to deny this claim.               The court, nevertheless,

will briefly review each of his Strickland arguments.



         1.     Failing to Interview and Present Witnesses to the
                Crime (claim 12(b), (c))

         Davis complains that his 1992 trial counsel did not interview

witnesses-which          he    terms    "eyewitnesses    to    the   crime"-before

trial. 196          None of the alleged "eyewitnesses" actually saw the

crime.        Instead, Davis faults trial counsel for not exploring the

possibility of calling witnesses who allegedly could establish a

different time line for Foster's death.

         The State indicted Davis for killing                 Foster on or about

Saturday, August 10, 1991.              Davis alleges that the defense should

have called four witnesses who could have challenged the State's

version of events:

                •       Donna   Motilal   "told   police   when
                        interviewed in 1991 that she saw Foster

196
      Petition, Docket Entry No. 30 at 179-84.


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                     in Houston alive Saturday August 10, 1991
                     or Sunday August 11, 1991 at the gas
                     station where she worked."

               •     Kerry Day told police in 1991 that "he
                     saw Foster alive Saturday night August
                     10, 1991 at Rudyard's Pub in Houston
                     around 9 or 10 p.m."

               •     Jeanne    Luckey,   Foster's    upstairs
                     neighbor, "heard a disturbance and doors
                     slamming in Foster's apartment late
                     Monday night on August 12, 1991." 197

               •     Sheryl Theis "whose apartment shared a
                     common wall with Foster's apartment" said
                     that on "August 13, 1991 .    . she heard
                     a thump coming from the common wall her
                     apartment shared with Michael Foster's
                     apartment .       " 198

         Davis hopes that those witnesses would have allowed the

defense to argue that he could not have killed Foster on the night

alleged in the indictment.          Davis bases this claim on the argument

that he unwaveringly maintained in his confession that he committed

the crime on Friday night.           Davis says that he "insisted in his

confession that he and Tina McDonald took Foster home on Friday

night, and Davis murdered Foster early Saturday morning." 199

         In reality, Davis could not positively remember which night he




  Luckey also conveyed hearsay statements that another neighbor had
197

seen Foster alive, but Davis has not presented any affidavit from
that other person or shown how that statement would have been
admissible.
198
      Petition, Docket Entry No. 30 at 182.
199
      Id. at 107.


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committed the murder. 200        Davis said he "didn't know the date this

took place" but " [i]t was either Friday or Saturday. " 201                 Davis

leaned toward believing it was Friday night based on which band he

saw perform, but still asked if he could pause the interview to

call a friend and verify which night he had visited the Pik' N Pak

club. 202

         The State argued that Davis committed the murder on or about

Saturday August 10.           Any potential testimony from Motilal and Day

would not be helpful to the defense because it would still allow

for Foster's death to have occurred within the time specified by

the indictment.        As to the other two witnesses, neither said they

saw Foster alive after Saturday night.                Davis says that their

testimony could have shown that Foster "was having a party or some

gathering       of   people    Monday   night   before   his   body   was   found

Tuesday," but he misconstrues their statements. 203            Those witnesses

say that they heard noise possibly coming from Foster's apartment,

which does not mean he was hosting a social gathering after the

date in the indictment.



  Davis gave the police the wrong name for the club where he met
200

Foster. Reporter's Record [1992], Docket Entry No. 32-21 at 170,
173. He later clarified that it was the Pik' N Pak. Id. at 186.
2011   Id. at 170, 174.
2021   1d. at 193.

203
      rd. at 35.


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         The convincing evidence of Davis's guilt contrasts sharply

with the inconclusive information provided by the four uncalled

witnesses.            See Thornell v. Jones, 144 S. Ct. 1302, 1310 (2024)

(holding        that a court           must weigh the       evidence supporting an

inmate's Strickland arguments against all the evidence, including

that unfavorable to the inmate's claim).                    The evidence of Davis's

guilt         was    strong,   particularly       because    he   gave   a   videotaped

confession in which he accurately recounted details about the

murder.        In light of that information, and considering the marginal

use for the testimony he has adduced, Davis has not shown that a

reasonable attorney would have called those witnesses to challenge

his guilt.            And Davis does not prove that their testimony would

have resulted in a reasonable probability of a different result.

The court denies claim 12(b)/(c).



         2.         Failing to Call a False-Confession Expert at the 2011
                    Punishment Hearing (claim 12(d))

         In claim 12(d), Davis faults the attorneys in his 2011 retrial

for not calling an expert witness to testify about the phenomenon

of      false       confessions. 204      Davis    supports   this   claim     with   an

affidavit from an expert witness, Dr. Gregory DeClue.                    According to

Davis, Dr. Declue "would have presented evidence to the jury that

a confession that may be ruled legally 'voluntary,' and therefore


204
      Petition, Docket Entry No. 30 at 184-204.


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admissible into evidence" but still "not conclusively establish
actual guilt. 112 c 5      Davis claims that trial counsel should have
relied on an expert such as Dr. DeClue to point out factors which
would call into question Davis's confession.

          Davis's attorneys in 2011 approached his confession against

the backdrop of his earlier attorneys' efforts.              The attorneys who

represented Davis in 1992 strongly challenged               s confession, both

in a suppression hearing and at trial.              The 1992 trial court had
considered a pre-trial suppression motion and found that Davis

voluntarily and knowingly confessed to the murder.                     The jury
considered Davis's evidence at trial and, notwithstanding, found
his con       ssion credible. The Court of Criminal Appeals had reviewed
various        challenges     to    Davis's    confession     and    found       no
constitutional error.

          Even though the tri       judge at retri       "was very clear that
she would not allow any attempt to re-litigate [Davis's] guilt,"
trial counsel decided to investigate whether they could raise a
viable challenge to Davis's confession.206            Trial counsel hired Dr.
Solomon Fulero, an expert in false-confession phenomena. 207               Trial

2 05   Id. at 189.
206    Id. at 265.

  Dr. Fulero, who holds both a Ph.D. in psychology and a juris
207

doctorate degree, see Moore v. Tate, 1988 WL 101273, at *8 (S.D.
Ohio 1988), is a nationally known expert in false confession whose
"'qualifications and scientific methods'" in particular have "been
                                                    (continued...)


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counsel "met with [Dr. Fulero] in Houston prior to trial, and . .
. discussed all of his thoughts as to this case. 11208              Trial counsel
provided several reasons they nonetheless decided not to call Dr.
Fulero as a witness: they thought it was clear from the evidence
that          s only con        sed to protect his wife,          they wanted to
convince jurors that Davis had been at the crime scene but was not
the murderer, in rebut               the prosecution would emphasize elements

of Davis's confession that only the kil                      would know, and they

thought      his    testimony    would     undermine    other    parts    of   their
defense. 209       Mr. Cornel    s opined: "I was absolutely certain this
would not be helpful and would, in all                  kelihood, alienate the
jury."       In essence, t           1 counsel feared that calling a false
confession expert would only backfire and end in "reinforcement of

the State's case. 11210
         A reviewing court "will not quest              a counsel's reasonable

strategic decisions."           Bower v. Quarterman, 497 F.3d 459, 470 (5th

Cir.      2007).      The   t    1    court   found    the    defense    attorneys'


(... continued)
'prais ' by the Sixth Circuit." United States v. Moonda, 2007 WL
1875861, at *1 (N.D. Ohio 2007) (quoting United States v. Langan,
263 F.3d 613, 623 (6th Cir. 2001) and United States v. Smithers,
212 F.3d 306, 315 (6th   r. 2000)).
  Postconviction Writ, Affidavit of Al
208
                                                       Tanner, Docket Entry No.
34 57 at 261.
          at 261-63.
  Postconviction Writ, Affidavit of R. P. Cornelius, Docket Entry
210

No. 34-57 at 266.


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affidavits         to   be   credible      and    recognized   their   strategic

decisions. 2 a       With that background, the state habeas court found

that "trial counsel made a reasonable, plausible trial decision not

to present the testimony of a false con               sion expert. " 212    Davis's

extens            briefing   does    not   show         the    state   court    was

unreasonable and, in                , fails to analyze the tact             reasons

trial counsel gave for not calling the                  rt they selected.       The

court          nds that the state habeas court's denial of this argument

was not contrary to, or an unreasonable application of, federal

law.             28 U.S.C. § 2254(d) (1).



         3.      Present DNA Evidence that McDonald Could Not Be Excluded
                 as the Source of a Hair Found on the Victim's Shirt
                 (claim 12 (e))

         In claim 12(e), Davis argues that his 2011 attorneys should

have presented DNA evidence that connected McDonald to the crime.213

In the 2011 penalty retrial,               the defense called John Moran, a

former DPS forensic scientist, to testify that a ha                        from the

victim's shirt exhibited characteristics consistent with McDonald's

hair.          Moran testified on cross-examination that he could not

exclude McDonald from being the contributor to the ha                       on the

2
    11Postconviction
                 Writ, Findings of Fact and Conclusions                    Law, and
Order, Docket Entry No. 34-57 at 216-21.
212
          at 21.
              ion, Docket Entry No. 30 at 204-08.


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victim's shirt.            Davis now argues that trial counsel should have

done more to tie McDonald to the hair.                     In essence, Davis argues

that trial counsel should have used the DNA to support a defense

showing "that it was reasonably probable McDonald was an active

participant          the events that took place in Foster's apartment." 214

         When    Davis     presented    this       claim    in   his   seventh    habeas

application the state court found that                            1 counsel was not

ineffective for failing to present evidence about the hair "more

conclusively." 215         Respondent accurately summarizes the weakness of

this claim: "At its crux, Davis is arguing that trial counsel were

ineffective for not more conclusively proving a point that was

already proved at trial-namely that Tina McDonald was at the scene

of the          fense and her hair could have been recovered from the

scene." 216

         Reviewing courts are "particularly wary of arguments that

essentially         come    down   to   a   matter     of    degrees.    Did     counsel

investigate enough? Did counsel present enough                            . evidence?

Those questions are even less susceptible to judicial second-

guessing."        Carty v. Thaler, 583 F.3d 244, 258 (5th Cir. 2009).

This is particularly the case where McDonald's presence at the



214
      Id. at 208.
215
  Postconviction Writ, Findings of Fact and Conclusions of Law, and
Order, Docket Entry No. 34-57 at 250.
216
      Answer, Docket Entry No. 90 at 282-83.


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scene was not in dispute by the part            s.   Further confirmation of

the hair as belonging to McDonald would do little to increase her

culpabil       y or decrease Davis's, especially in the context of a

sentencing hearing in which the jurors 1 primary consideration was

his sentence, not his guilt.            Accordingly, the court finds that

Davis has not met his burden under the Strickland standard, much

less AEDPA's deferential review of the state court's rejection of

this claim.



         4.    Failing to Present Evidence Regarding Tina McDonald's
               Violent and Aggressive Character (claim 12(f))

         In claim 12 ( f) , 217 Davis claims that 2011 trial counsel should

have shifted blame for the murder to McDonald by "presenting

evidence       of      [her]   aggressive,    manipulat          and   violent

character. " 218     Davis        ifies four individuals (Brian Courtney,

Bryan Falconer, Calvin Doby, and Matt Marquis) who he claims t                  al

counsel should have called to testify about McDonald's violent,

controlling,        and manipulative character. 2"9        Davis   uses   their

affidavit testimony to show that McDonald was the "' leader' in

their relationship" and to raise questions about whether Davis only



217
          at 208-14.
218
      Id. at 209.
219
      Id. at 210-13.


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confessed to protect her.220

         When Davis raised this claim in his seventh state habeas

application, both trial attorneys explained why the defense did not

explore McDonald's bad character.              "How to handle Tina McDonald in

general was a great debate between" his attorneys and Davis.221

Trial counsel seriously considered both the risks and benefits of

developing a defense based on McDonald's violent character.                Trial

counsel interviewed people who could testify about McDonald, but

feared that presenting their testimony would backfire against the

defense.       As found by the state habeas court, "counsel was put on

notice      that    Tina     McDonald     'would   bury'   [Davis]          with

information about criminal acts if she were attacked" so "trial

counsel decided to leave Tina McDonald out of it."222

         On that basis,            the state habeas court found that "trial

counsel made a reasonable, plausible trial decision not to attack

McDonald .                 ff223
                                    Courts generally defer to such tactical

decisions.         See Pape v. Thaler, 645 F.3d 281, 292 (5th Cir. 2011)

("[W]e continue to extend highly deferential treatment to counsel's

sentencing strategy and tactical decisions.").                  The state habeas


220   Id. at 209.

  Postconviction Writ, Affidavit of Allen Tanner, Docket Entry No.
221

34-57 at 261.
222   Id. at 224.

  Postconviction Writ, Findings of Fact, Conclusions of Law, and
223

Order, Docket Entry No. 34-57 at 224.


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court              so   found   no   Strickland prejudice,      particul     y    when
weighing from evidence McDonald's violent character against both
the              dence which would come in with          and the other evidence
from trial. 224 The state court's assessment of both Strickland
prongs was not unreasonable.                   Under both AEDPA and a        er the
court's independent review, the court finds that Davis has not met
the high standards for federal habeas                    ef.



            5.      Failing to Question Margie Kessler about Calls She
                    Received from Davis Before and After He Confessed (claim
                    12 (g))

            Davis faults his 2011 trial attorneys for not questioning his
aunt, Margie Kessler, about a phone call she received from Davis
before            he    confessed. 225    Kessler   testified   during     the    2011
punishment hearing about Davis's good behavior and character.                       In
a habeas affidavit, Kessler explained that Davis called her after
his arrest and told her that, even though "the night it happened he
was really drunk in a motel somewhere,u he was "gonna take the
blame for [McDonald] because she has a child. " 226 Davis argues that

trial counsel should have questioned Kessler about the phone call
because "[s]uch evidence would have cal                 into question            extent


224Id.
225
      Pet        ion, Docket Entry No. 30 at 215-18.
  Postconviction Writ,
226
                                         idavit of Ma     Kessler, Docket Entry
No. 34-54 at 175.


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of Davis's involvement in the crime he was charged with,                               thus

reducing his culpability in the minds of the jurors. 11227

             al counsel Tanner explained why the defense did not ask

Kess        r about the phone calls: "without the Defendant testifying

the statements would              hearsay and self serving and the judge

would have excluded them. 11228              The state habeas court agreed that

any testimony from Kessler about Davis's statements would have been

excluded as hearsay. 229         The state habeas court provided two other

reasons that counsel's performance was not deficient:                        (1) details

in     Davis's     confession    and     other       tr   1    evidence     contradicted

Kess         's testimony230 and (2) Kessler's testimony would open the

door to the admission of a letter Davis wrote to McDonald                          which

he "t        ed to manipulate her to take the blame so he could                        le a

new writ and get a retr           1. " 231    Based on those factors, the state

habeas court found                   "trial counsel made              the    reasonable,

plaus             trial   decision     not     to    attempt     to   present    through

Kess        r's   testimony     statements           [Davis]    allegedly       made     to



22
  7   Pet   ion, Docket Entry No. 30 at 215.
  Postconviction Wr
228
                              , Affidavit of Allen Tanner, Docket Entry No.
34-57 at 263.
229
  Postconviction Writ, Findings of Fact, Conclusions of Law, and
Order, Docket Entry No. 34-57 at 225.
230


231




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Kessler. " 232

         Davis makes no effort to show that the state habeas court's

decision was unreasonable.        Trial counsel made a strategic decision

not to call Kessler.        The law honors that decision.       This court's

review confirms that the state habeas court's                ection of this

claim was not contrary to,          or an unreasonable application of,

federal law.      See 28 U.S.C. § 2254 (d) (1).



         6.   Ineffectively Presenting Mitigation Evidence to Rebut the
              State's Evidence that Davis Would be a Future Danger
              (claim 12 (h))

         In his 2011 retrial, the State argued that Davis "would be a

future danger based on his past disciplinary record in prison and

his association with the Aryan Brotherhood. " 233           In Claim 12 (h),

Davis faults t        1 counsel for not presenting evidence that would

place his prison infractions into context.              Davis alleges that

t      al counsel should have shown that difficulty adjusting to a

high-security prison environment caused him to act irrationally

when on death row after his first trial.         Davis proposes that trial

counsel should have called exonerated former death row inmates to

describe the circumstances of prison li

         When Davis raised this claim in his seventh state habeas

232


233
      Petition, Docket Entry No. 30 at 218.


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application, the state habeas court found that Davis's proposed
testimony would require the jury to find out that he had previously
received a death sentence. 234        Trial counsel, however, "didn't want
to take a chance on the jury finding out about Mr. Davis being on
death row" during the 2011 punishment hearing. 235               The state habeas
court endorsed that strategy and further noted that the jury would

"likely       not   be[]   sympathetic    to     death   row   conditions    being
restrictive and 'grim.' 11236

         Davis has not made any effort to show that the state habeas
court's       decision     was   unreasonable.      Trial      counsel presented
extensive evidence in the penalty phase.             Davis proposes a strategy

which runs directly contrary to the defense's efforts to avoid any
discussion about his earlier death sentence.                    The state habeas
court was not unreasonable for endorsing trial counsel's strategic
decision to avoid harmful information.             Davis does not mer       relief
under AEDPA's deferential standard.



         7.    Failing to Present Foundational Mitigation Evidence and
               Not Calling a Social Historian ( claims 12 ( i) , ( j) )

          In claim 12(i), Davis faults           al counsel for not presenting



234
      Id. at 226.
235
      Affidavit of Allen Tanner, Docket Entry No. 34-57 at 262.
  Findings of Fact, Conclusions
236
                                            Law, and Order, Docket Entry No.
34-57 at 227.


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"foundational mitigating evidence. " 237                Davis identi      s "seven

additional lay witnesses" which "[p]ost-conviction investigation

has      uncovered"     which    "trial    counsel      should   have   called    to

testify. " 238      Additionally, Davis says that trial counsel should

have asked additional questions of the mitigation witnesses who did

testify at retrial.             In claim 12 (j),     Davis argues that trial

counsel then should have called a social historian who could "weave

the bare facts of [his]           life into a compelling narrative" and

particularly give jurors a "comprehensive account of [his] li                    11239



         The state habeas court extensively reviewed the evidence Davis

presented on state habeas review and compared                    to the evidence

trial counsel presented. 240        The state habeas court found that trial

counsel "effectively presented essentially the same mitigation

evidence through thirty mitigation witnesses. " 241                To the extent

that Davis's habeas testimony differed,                 the state habeas court

found that        (1) evidence that other family members' histo                   s,

including their drinking problems,                was    "unpersuasive"    because

"there is no evidence that [Davis] was affected by these distant


237
      Petition, Docket Entry No. 30 at 233-83.
238
      Id. at 234-35.
239
      Id. at 236.
240
          at 227-34.
  Postconviction Writ, Findings of Fact, Conclu
241
                                                                 ans of Law, and
Order, Docket Entry No. 34 57 at 252.


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occurrences"; (2) testimony that Davis "was not capable of murder"

was "speculative and unpersuasive" because of the "guilty verdict"

and his other crimes;                (3) evidence of his drug use was "likely

. more harmful that beneficial"; and (4) any testimony about his

father's bad acts was "irrelevant and unpersuasive .                             . in light

of        trial        counsel·    presenting    extensive,     relevant        information

concerning his father's behavior toward [Davis]."242                        Finally, the

state habeas court endorsed trial counsel's decision not to call a

social historian when the defense had already presented the same

basic information from other sources.243

           A review of the new evidence confirms that "[t]his is not a

case in            which     the defendant's attorneys failed              to    act    while

potentially powerful mitigating evidence stared them in the face .
           II
                 Bobby v. Van Hook, 130 S. Ct. 13, 19 (2009).              Trial counsel

made            reasonable      strategic     decisions    about    how   to     present   a

mitigation              case,     including   the   choice    not   to    call    a    social

historian. Much of the additional mitigation evidence presented by

Davis           "was    largely cumulative and differed from the evidence

presented at trial only in detail,                        not in mitigation thrust."

Villegas v. Quarterman, 274 F. App'x 378, 384 (5th Cir. 2008).                            The

decision trial counsel made to put the evidence before the jurors

through numerous witnesses rather than through an expert social


242
         Id. at 233-34.
24
     3   Id. at 234.


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historian is a tactical one to which courts defer.          See Yarborough

v. Gentry, 124 S. Ct. 1, 4 (2003) (" [C]ounsel has wide latitude in

deciding how best to represent a client.") (quotation omitted).

         To the extent the habeas evidence differs from that presented

at trial,      the state habeas court provided reasons for which a

reasonable attorney would not use that information and found no

reasonable probability of a different result had counsel done so.

The state court decision was not contrary to, or an unreasonable

application of, federal law.        See 28 U.S.C. § 2254 (d) (1).



         8.   Failing to Object to Testimony Regarding a Mask (claim
              12 (k))

         At the 2011 penalty-only retrial, Thomas Cason testified that

he cut off the leg of his grandmother's pantyhose and gave it to

Davis before he robbed the Beverage Barn in Mineral Wells.               The

police found a cut-off piece of pantyhose next to Keith Blaylock's

body in his abandoned truck.        At trial, the parties used various

names to describe the cut-up pantyhose found near Foster's body,

including      "a stocking, a hose, a stocking mask, a stocking cap,

and pantyhose."244      Davis's claim 12 (k) faults trial counsel for not

objecting to using the term "mask. " 245      Davis also faults counsel


244
      Id. at 237   (providing record citations).
245
      Petition, Docket Entry No. 30 at 283-90.


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for not objecting to the introduction of the "mask" into evidence

because of concerns about the chain of custody.

         Davis argues that "there was no indication of what [the

stocking] might have been used for" so counsel should have objected

to its characterization as a "mask. " 246       The state habeas court,

however, found that "testimony was elicited that a police officer

recognized, in 1988, that a woman's hose or stocking was generally

used to pull over a person's head to distort features." 247            With

that understanding,      the state habeas court found that           "trial

counsel are not ineffective for not objecting to the term 'stocking

mask.' u24a

         Davis also says that trial counsel should have raised an

objection to the chain of custody.        The state habeas court reviewed

the State's possession of the stocking and found "[b]ased on the

established chain of custody" that Davis "fail[ed] to show that

trial counsel are ineffective for not objecting to the admission of

the stocking mask .           11249
                                       The state habeas court also cited

state law which holds that "any problem in chain of custody goes to




246
      Id. at 285.

  Postconviction writ, Findings of Fact, Conclusions of Law, and
247

Order, Docket Entry No. 34-57 at 253.
248
      Id. at 237.

249Id.


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weight, not admissibil          y, of evidence."250

         Davis makes no ef         to meet his AEDPA burden on this issue.
Trial testimony allowed for the term "mask," a word whose use alone
would make little dif           rence in trial.       The state habeas court
found that        the stocking was admissible;          questions about the
admissibility of evidence are questions of state law.                   Davis's
briefing falls far short of proving inef              ctive assistance which

would have prejudiced the defense. The court will deny this claim.



         9.    Failing to 2resent ex2ert testimony during retrial
               regarding the DNA on the stocking (claim 12(1))

                  the 2011 retrial, the State had DNA testing performed
on the stocking by Orchid Cellmark. The State presented testimony

at trial that "there were at least one male and one female in the
DNA mixture obtained from testing the Stocking-results consistent
with a female wearing the stocking before a male contributed to the
mixture."251

         Trial counsel sought out the assistance of an expert, Huma
Nasir, a Forensics Supervisor from Orchid Cellmark.                     Nasir's
testing, however, did not exclude Davis from being a contributor to

  Id. at 253 (citing Druery v. State, 225 S.W.3d 491, 503 (Tex.
250

Crim. App. 2007); ""-"'=-..=:.:......._� Shields v. Dretke, 122 F. App'x 133,
149-50 (5th Cir. 2005) ("A break in the chain of custody simply
goes to the weight of the evidence, not its admissibility.")
{quotation omitted).
251
      Id. at 237.


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the DNA on the stocking.         Trial counsel did not use Nasir as a

witness at trial.      In his seventh state habeas application, Davis

presented an affidavit from Nasir explaining that she would have

testified       to   different    statistics     concerning     the    DNA.

Specifically, Nasir "discovered one in 261 random Caucasians could

be contributors" which would mean that there were "45,785 possible

matches in Texas. " 252 Davis contends that trial counsel provided

ineffective assistance by not calling Nasir as a witness.

         Trial counsel Tanner testified in his habeas affidavit that

the defense "didn't believe that calling a DNA expert to the stand

would benefit [the defense] following the cross examination of the

state['] s DNA expert," particularly because the defense's "DNA

expert ['] s opinion did not exclude Mr. Davis. " 253 After extensively

reviewing the factual basis for this claim,254 the state habeas

court found that Davis "concede[d] that both the DPS Lab and Orchid

Cellmark reached the same result of not being able to exclude

[Davis] as a contributor to the DNA profile on the stocking. " 255

Even through the trial testimony about statistical probability



252
      Petition, Docket Entry No. 30 at 295.

  Postconviction Writ, Affidavit of Allen Tanner, Docket Entry No.
253

34-57 at 262.

  Postconviction Writ, Findings of Fact, Conclusions of Law, and
254

Order, Docket Entry No. 34-57 at 237-39.
255
      Id. at 239.


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dif         red from that in Davis's habeas evidence, the State's trial

expert        "did     not    tes     fy or     imply     that   it    was     statistically

impossible from someone other than [Davis] to be the contributor to

the DNA on the stocking. " 256                 The state habeas found that "trial

counsel         made        the     reasonable,       plaus           trial    deci    on    to

extens         ly cross-examine              [the    State's expert]          about the DNA

testing rather than present the testimony of Huma Nasir from Orchid

Cellmark who would have agreed with [the] conclusion that [Davis]

could         not      be     excluded         as     a   contributor         to     the     DNA

profile-regardless of their statistical analyses differing." 257

               1 counsel made a strategic decision not to challenge the

DNA evidence through another expert.                       Davis now may dis                with

that            sion, but the law still gives great deference to trial

counsel's tactical de                 sions.        And Davis makes no effort to show

that the state               habeas     court       was   unreasonable in          finding   no

defic            performance.          Further, because Davis's habeas evidence

did not exclude him as a contributor to the DNA mixture, he has not

shown that the state habeas court's decision regarding                                 judice

was unreasonable.                 Davis completely fails to meet his AEDPA burden

with respect to this                  aim.     The court will deny this claim.


2s6
   I   d.

2 s7 I
      d.




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         10.     Ineffectively Investigating and Presenting Evidence of
                 Intellectual Disability (claim 12(m))

          In Claim 12(m), Davis alleges that "[t]rial and writ counsel

performed deficiently by not properly investigating the facts and

presenting evidence of n intellectual              sability. 258   Davis did not

raise this claim in state court.              Davis recognizes the procedural

bar which results from his             ilure to exhaust this        aim.   Davis,

however, provides a conclusory argument that Martinez v. Ryan, 132

S. Ct. 130 9 ( 2012), allows for de novo federal review. 259

         Under Martinez, the ineffective assistance of a state habeas

attorney may forgive an inmate's failure to exhaust a Strickland

claim.      But Davis has not adequately brie           his Martinez argument.

Davis ma          conclusory statements about his prior habeas attorneys'

decision not to raise a Strickland claim based on Atkins, but makes

little effort to show ineffectiveness or resultant prejudice.

Davis's prior attorneys have exhaustively litigated substantive

Atkins claims,        both before and after his 2011 retrial.               Trial

couns          decided not to raise an Atkins issue at his 2011 retrial

because         Davis's   earlier    expert     disavowed   her    diagnosis     of

intellectual disabi                 The state habeas courts twice considered

habeas challenges based on Atkins after the second death sentence.


258
      Petition, Docket Entry No. 30 at 301.
259
      Id. at 303.


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No reviewing court has found that Davis meets any of the elements

necessary to merit relief under Atkins.               With that context, Davis

completely     fails    to    make   any   effort     to    show    a    reasonable

probability that habeas relief could have been granted if counsel

had raised the omitted claim.           See Soliz v. Davis, 750 F. App'x

282, 290 (5th Cir. 2018); Mamou v. Davis, 742 F. App'x 820, 828

(5th Cir. 2018).       Claim 12(m) is not available for federal review.

     Alternatively,       trial counsel made          an informed,        strategic

decision not to raise Atkins arguments.             Given the strong evidence

that Davis is not intellectually disabled, Davis has not shown that

prejudice flows from that decision.             The court would deny this

claim if the merits were fully available for federal review.                      See

28 U.S.C. § 2254(b) (2) ("An application for a writ of habeas corpus

may be denied on the merits, notwithstanding the failure of the

applicant to exhaust the remedies available in the courts of the

State.").



        11.   Failing to Preserve the Record for Appeal (Claim 18)

        In his eighteenth ground for relief,               Davis complains that

trial     counsel   "failed    to    preserve   the    record      for   appeal    by

acquiescing to a multitude of off-the-record conferences" in 2011




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punishment hearing. 260              According to Davis's count,               "forty-one

discussions were held off the record during voir dire, pre-trial

proceedings, and the punishment phase                        self. " 261   Conceding that

establishing prejudice is              fficult in light of the silent record,

Davis alleges harm in that courts lacked a sufficient basis to

review his punishment retrial.

         Davis     raised   this      claim     in     his     seventh     state   habeas

application.          There,    the state habeas court disputed                    Davis's

assertion that all bench conferences were not recorded, pointing to

one      example    where      the    "record    includes          a   complete,   record

discussion" where Davis had               leged it was unrecorded. 262 In fact,

the state habeas court found that the "record contains numerous

bench conferences and proceedings conducted out of the presence of

the jury that were recorded . .                      11263
                                                             The thrust of the state

habeas court's decision, however, found that Davis "presents only

conclusions and speculations regarding potential harm, if any, from

any unrecorded conferences and does not show that his appellate

record is missing 'substantial and crucial' portions so that his




260
      Peti   on, Docket Entry No. 30 at 333.
261
      Id. at 336.
  Postconviction writ, Findings of Fact, Conclusions of Law, and
262

Order, Docket Entry No. 34-57 at 246.
263
      Id. 245.


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right to appeal is illusory." 264            On that basis, the state habeas

court found that Davis had not shown either Strickland deficient

performance or prejudice. 265

         Davis   does    not attempt to       meet    his   burden   under     AEDPA.

Davis's petition merely copies the language from his ninth state

habeas application without addressing the state court's decision.

Davis's      unsupported       statements     about   prejudice      compound     the

inadequacy       of     his   briefing.       Davis   does    not    discuss     what

information may not have been preserved on the record or show what

errors he could not present on appeal.                Davis's conclusory claim

fails to provide a meritorious basis for federal habeas relief.

The court will deny this claim.



K.       The Protest Letter (claims 13, 14, and 15)

         Davis raises three claims that all relate to a letter which

Humble Police Department Detective Charles Smith wrote to the Texas

Board of Pardons and Paroles.             In a letter dated January 6, 2004,

Detective Smith "protest[ed] .              . any consideration for Parole for

inmate Tina Louise McDonald." 266           Davis raises three constitutional

claims based on what he labels the "protest letter."                     In claim



264Id.
265
      Id. at 257.
266
      Letter dated January 6, 2004, Docket Entry No. 40-2 at 74.


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thirteen, Davis argues that the letter proves the State presented

false testimony about his confession in his 1992 trial regarding

"whether [he] was promised McDonald would receive immunity prior to

his confession. " 267    Davis's fourteenth claim relies on the same

factual basis to argue that the State presented false evidence in

his 2011 penalty-only retrial.         Finally, in claim fifteen Davis

claims that the State violated Brady by not turning over the

protest letter before his 2011 retrial.

         These claims are procedurally barred and,          alternatively,

without merit.



        1.    Procedural Bar

        Davis raised these three claims in his eighth state habeas

application which the Court of Criminal Appeals dismissed as an

abuse of the writ.      Davis makes no effort in either his Petition or

his Reply to overcome the procedural bar.       The court, nevertheless,

will briefly review the claims in the alternative.



         2.   The Protest Letter

         Davis's three claims based on the protest letter hope to prove

that he confessed pursuant to an agreement.              The question of

whether the State made a promise arose early in the case.                The

State has maintained since Davis's first trial that no promise was

267
      Petition, Docket Entry No. 30 at 305.


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made to secure his confession.             In the pre-trial suppression
hearing

      [b]oth Davis     and the assistant district attorney
      testified       . that the assistant district attorney
      stated that no agreements were made prior to the
      confession. Nevertheless, [Davis] testified that while
      the assistant district attorney stated he would not give
      [McDonald] immunity, [Davis] believed that was not what
      the assistant district attorney meant.       [Davis] also
      stated that he believed if he confessed, he would receive
      only a life sentence. 268

The trial court entered written findings and conclusions deciding

that no deal for immunity had been made. 269

      The question of whether Davis testified pursuant to a promise

was a repeated theme throughout trial.         When Davis challenged his
conviction on direct appeal, the Court of Criminal Appeals found no
objective evidence of a promise. 270         Davis, however, claims that

Detective Smith wrote a letter in 2004 that calls into question
whether the State had indeed made him a promise.            By 2004, McDonald
was incarcerated for the attempted murder of Steve Sherman, a crime
she   and   Davis   had   committed   days    after   the    Foster   murder.
Detective Smith's protest letter mentioned that "[a]fter months of

  Opinion, Davis v. State, No. AP 71,513, Docket Entry No. 32-29 at
268

14-15.
  Supplemental Transcript, Findings of Fact and Conclusions of Law
269

Concerning the Voluntariness and Admissibility of the Defendant's
Videotaped Oral Confession, Docket Entry No. 32-3 at 3-6.
  Opinion, Davis v. State, No. AP 71,513, Docket Entry No. 32-29 at
270

14-15.


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investigation Davis agreed to confess to the crime in exchange for

McDonald not facing prosecution in this case. 11271                 According to

Davis, the State should have turned over the protest letter before

his 2011 penalty-only retrial.           Davis also claims that the protest

letter proves that the State presented false evidence at both

trials       which   "went   directly    to     multiple    critical   issues-the

veracity and reliability of Davis's confession and the credibility
                                                            11272
of the State's most important witness

         Davis raised these three claims in his eighth state habeas

application, which he filed in 2015. 273           The State filed a motion to

dismiss which relied on three affidavits to counter Davis's claim

that the State had promised him immunity. 274              The State submitted an

affidavit in which Detective Smith reiterated Davis received no


27
  1Exhibits, Letter dated January 6, 2004, Docket Entry No. 40-2 at
7 4) .
272
  Petition, Docket Entry No. 30 at 304. Whether or not Davis
received a promise of leniency for his wife was only a minor theme
through his penalty retrial. The defense wanted to reexamine
whether Davis confessed because he "want[ed] to get immunity for
his wife.     Reporter's Record-Vol. 17, Punishment Proceedings,
               11

Docket Entry No. 33-24 at 17-18; Docket Entry No. 33-25 at 48-50.
The trial court allowed the defense to question witnesses about the
alleged immunity agreement. Id. at 54. Detective Smith testified
in the retrial and said that there had been discussions about
immunity, but nothing had been promised to Davis. Id. at 85-87.
273
  Supplemental Writ of Habeas Corpus, Subsequent 11. 071 Application
for Writ of Habeas Corpus, Docket Entry No. 34-72 at 4-43.
274
  State's Motion to Dismiss Applicant's Subsequent Application for
Writ of Habeas Corpus, Docket Entry No. 34-73 at 1-45.


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promise in exchange for his confession. 275        Officer Smith explained

that his statement in the protest letter was "true" but "it is

incomplete so it gives the wrong impression. "276          Detective Smith

continued:

         As I said before, Davis did say at first that he would
         confess in the capital murder case in exchange for
         McDonald not being prosecuted in that case, but he wasn't
         able to make that deal because no one would give him that
         promise or any promise.           I should have said that
         "Davis first agreed to confess to the crime in exchange
         for McDonald not facing prosecution, but no one would
         make him that promise and he ended up confessing without
         any promise being made to him. 277

         The State supported this statement with affidavits from two

other police officers denying that any promise had been made.

         The question of whether Davis confessed only pursuant to a

promise      was    a   constant   theme   throughout   Davis's   two   trial

proceedings        and his   post-trial    judicial review.       The record

consistently shows that the State did not make any promise to

Davis.      During his suppression hearing testimony, Davis admitted

that he said in his confession that he had not been promised

anything. 278      All courts that have considered the question have

found that Davis did not receive any promise of immunity for

  5
27    Id. at 41.
276Id.
277Id. at 41-42 (emphasis added).
278Postconviction Writ, Statement of Facts-Vol. 5 [1992], Pretrial
Motions, Docket Entry No. 32-7 at 26, 28.


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McDonald.279   Davis's own testimony showed that any bel            f in a
promise was a subject        one.

        Davis grasps at a slender reed to argue that the State had
indeed made a promise. Davis claims that the protest letter proves
the State made him promises that resulted in his police statement.
Despite Detective Smith's clumsy word choice in one inartful
letter, the record extensively demonstrates that no promises were

made.    Taking into account the whole record, Davis has not shown

that the trial testimony "was actually false."         Fuller v. Johnson,
114 F.3d 491, 496 (5th Cir. 1997).

       Davis also cannot show that the protest letter would have made
a di              Whi    both false-evidence and Brady claims have a

prejudice component, different standards of materiality apply to
each.     See Kirkpatrick v. Whitley, 992 F.2d 491, 497              h Cir.

1993).     Even under the "less demanding" false-evidence standard,
Davis has not shown "any reasonable likelihood" that the protest
letter "could have affected the judgment of the jury."               United
States v. Agurs, 96 S. Ct. 2392, 2398           (1976) (citing Giglio v.
United States, 92 S. Ct. 763, 766 (1972)).          The court would deny

claims thirteen, fourteen, and fifteen if the merits were fully
avai      e for federal review.




  Clerk's Record, Findings of Fact and Conclusions of Law
279

Concerning the Voluntar    s and Admissibility of the Defendant's
Videotaped Oral Confession, Docket Entry No. 32-3 at 6.


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L.      Low Intelligence (claim 16)

        In his sixteenth claim for relief, Davis argues that, even if

he does not qualify for Atkins protection, his low intelligence

should exclude him from execution.            In essence, Davis asks for an

extension of Atkins to include a category of people who the

psychological community does not consider intellectually disabled,

but nonetheless who still have low intelligence.             Davis also makes

the cursory and unsupported argument that his appellate counsel

provided deficient representation by not raising a similar claim on

direct appeal.

        The state habeas court found this claim "meritless" when Davis

raised it in his seventh state habeas application.280             Davis makes

no effort to meet his AEDPA requirement of showing that the state

decision was       contrary to,     or an unreasonable       application of,

federal law.       Nor could he. Federal courts have constantly refused

to extend Atkins into other areas of mental health concern.281

Because a federal habeas court cannot create new constitutional

  Postconviction Writ, Findings of Fact and Conclusions of Law and
280

Order, Docket Entry No. 34-57 at 245, 256.

  See Green v. Lumpkin, 860 F. App'x 930, 941 5th Cir. 2021)
281

(mental illness); In re Soliz, 938 F.3d 200, 203 (5th Cir. 2019)
(fetal alcohol syndrome); Smith v. Davis, 927 F.3d 313, 339 (5th
Cir. 2019) (schizophrenia); Rockwell v. Davis, 853 F.3d 758, 763
(5th Cir. 2017) (mental illness); Shore v. Davis, 845 F.3d 627, 633
(5th Cir. 2017) (brain injury); Mays v. Stephens, 757 F.3d 211, 219
(5th Cir. 2014) (mental illness); Ripkowski v. Thaler, 438 F. App'x
296, 303 (5th Cir. 2011) (serious mental impairment).


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law, see Teague v. Lane, 109 S. Ct. 1060 (1989), abrogated in part

12.y Edwards v.     Vannoy,   114 S.   Ct. 1547, 1562     (2021),   this court

cannot extend the categorical exemption from Atkins to individuals

with low intelligence.         This claim is meritless.



M.       Penalty Only Re-Trial (claim 17)

         Davis's seventeenth claim argues that the Due Process Clause

prohibits a retrial,          such as he had,     only on the question of

punishment. 282     When Davis raised this claim in his seventh state

habeas application, the state court found that he had defaulted

consideration of the merits by not making a contemporaneous trial

objection. 283     The state court alternatively denied the merits. 284

Davis makes no effort to overcome the procedural bar or show he

merits relief under AEDPA.        Further, no constitutional law requires

a new guilt/innocence trial when a court orders a new sentencing

hearing.       The court would deny this claim if the merits were

available for federal consideration.



N.       Commonly Raised Claims (claims 19 and 20)

         Davis raises two meritless claims which federal courts have


282
      Petition, Docket Entry No. 30 at 333.

  Postconviction Writ, Findings of Fact and Conclusions of Law and
283

Order, Docket Entry No. 34-57 at 256.




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repeatedly rejected.            In claim nineteen,          Davis argues that the

wording of the penalty-phase instructions restricted what evidence

the jury could consider as mitigating.                      In claim twenty,      Davis

raises a challenge to Texas' prohibition on informing jurors that

one vote would result in a life sentence                      (commonly called the

"10/12 Rule").            Courts have regularly and consistently rejected

similar arguments. Davis has not provided "a nonfrivolous argument

for         extending,    modifying,   or     reversing      existing      law   or   for

establishing new law."           Fed. R. Civ. P. 11 (b) (2) ; see also Williams

v. Lumpkin, 2021 WL 4502419, at *3 (N.D. Tex. 2021) (discussing the

possibility of sanctions for failing to comply with Rule 11 (b) (2)

when raising similar claims).                The court cautions counsel against

raising         frivolous    arguments   which       run    counter   to    prevailing

authority without showing a good-faith basis for extending the law.



0.          Administration of the Death Penalty (claim 21)

            Davis argues that both the State of Texas and Harris County

have engaged in a systemic pattern of discrimination based on

geography and race in capital sentencing.                     Davis defaulted this

claim in state court and makes no effort to overcome the resultant

procedural bar.             Alternatively,     federal courts have repeatedly

rejected similar constitutional challenges.285 Nothing in this case

285
      See    Allen   v.   Stephens,    805    F.3d   617,    631   (5th Cir. 2015)
                                                                      (continued ...)



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suggests       a different result.         Davis's   crime   easily     fits   the

statutory requirements for capital murder.             Nothing suggests that

the prosecutor in this case considered anything other than the

severity of the crime in deciding the severity of the punishment to

seek.        In addition to the procedural bar that forecloses full

review, the court alternatively finds that Davis's twenty-first

claim lacks merit.



P.       Tria1 Court Error (c1aims 22 and 23)

         Davis raises two claims alleging error in his 2011 retrial.

In the first, Davis argues that the trial court improperly excluded

a witness's testimony on hearsay grounds               (claim 22).286     In the

other, Davis contends that the trial court should have granted a

mistrial when one witness mentioned his prior death sentence (claim

23).287      Davis makes no effort to show that the Court of Criminal

Appeals erred when rejecting these claims in his second direct

appeal.

(...continued)
abrogated on other grounds by Ayestas v. Davis, 138 S. Ct. 1080
(2018); Broadnax v. Lumpkin, 987 F.3d 400, 414 (5th Cir. 2021);
White v. Thaler, 522 F. App'x 226, 235 (5th Cir. 2013); Wells v.
Lumpkin, 2023 WL 7224191, at *14 (N.D. Tex. 2023); Johnson v.
Lumpkin, 593 F. Supp.3d 468, 509 (N.D. Tex. 2022); Cole v. Lumpkin,
2021 WL 4067212, at *33 (S.D. Tex. 2021); Batiste v. Davis, 2017 WL
4155461, at *30 (S.D. Tex. 2017); Rockwell v. Davis, 2016 WL
4398378, at *25 (N.D. Tex. 2016).
286   Petition, Docket Entry No. 30 at 358-65.
287
      Id. at 366-71.



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             s's pleadings and argument in state court focused on the

operat        of state law.        In each instance,      Davis only briefly

mentioned any federal but extensively discussed the operation of

state law.       Whether or not a state court has correctly applied

Texas law is not a matter for federal habeas concern.                   Cupit v.

Whitley, 28 F.3d 532, 536 (5th Cir. 1994); Smith v. Whitley, 1994

WL 83777, at *l (5th Cir. 1994).            Fede      habeas corpus relief is

only available if any error was "so extreme that it constitutes a

denial of fundamental fairness under                    Due   Process Clause."

Bridge v. Lynaugh, 838 F.2d 770,            772    (5th Cir. 1988); see also

Jackson v. Johnson, 194 F.3d 641, 656 (5th Cir. 1999) ("In habeas

actions,     we do not , sit to review the admissibility of evidence

under    state   law unless erroneous evidentiary rulings were so

extreme as to result in a denial of a constitutionally fair

proceeding.").       Davis must show a violation of constitutional law.

        In   claim   twenty-two,    Davis    faults    the    trial   court   for

excluding one witness's testimony as hearsay.                  Davis asks this

court to decide whether the trial court correctly applied state law

when excluding the witness's testimony.                The Court of Criminal

Appeals found that the challenged statements were not "                       his

penal interest" and did not meet any Texas exception to the hearsay

doctr          Davis, 2013 WL 5773353, at *2.          The court has reviewed

the comments and the Court of Criminal Appeals' resolution of the



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issue.       Davis has not shown that the exclusion of the statements

was fundamentally unfair.

         Davis's twenty-third claim alleges that the trial court erred

by not ordering a mistrial when one witness mentioned that Davis

"had been on death row." 288         Davis again argues on federal review

that the denial of a mistrial was in error. Here, the trial court

instructed jurors to ignore the witness's mention of death row.

Courts presume that juries will follow their instructions.                   See

Zafiro v. United States, 113 S. Ct. 933, 939 1993); Richardson v.

Marsh, 107 S. Ct. 1702, 1709 (1987).              Courts only "abandon[] that

presumption only when there is an overwhelming probability that the

jury will be unable to follow the instruction and there is a strong

probability that the effect is devastating." United States v.

Patino-Prado,        533   F.3d   304,    313    (5th   Cir.   2008)   (quotation

omitted).       The Court of Criminal Appeals reasonably found that no

evidence suggested that the jury could not follow its instruction.

         Davis has not shown that he merits federal habeas corpus

relief on claims 22 and 23.



Q.       Jury Questions (claims 25, 26, 27, 28)

         Davis raises four claims based on the trial court's efforts to

limit the jury's exposure to information about Davis's prior death


  Reporter's Record-Vol. 23 [2011], Docket Entry No. 33-30 at 253-
288

54.



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sentence.        Davis has not adequately briefed these claims for the

purposes of federal habeas review.             Davis raised these claims in

his second direct appeal.            Davis's federal petition copies the

briefing from that action, nearly word-for-word, into his federal

petition. 289     Davis, in fact, left intact all references to himself

as "appellant u and preserved his citations to state law.                 Aside

from adding a single citation to federal law at the end of his

lengthy state-court argument, Davis makes no effort to frame his

claims in the context of the federal constitution, provide relevant

legal argument based on federal law, recognize the state court's

decision on the merits,           and then show that the state court's

rejection of his claims requires relief under AEDPA.

         Respondent has answered by placing the claims into the context

of federal constitutional law and then reviewing them through the

prism of AEDPA's deferential standards. 290          Davis's Reply, in turn,

does not even mention these claims.               An inmate represented by

counsel who invokes federal jurisdiction, thereby compelling action

by the State and the judiciary, essentially abandons any argument

that he is entitled to relief when he ignores the AEDPA standard.

With Davis's lack of effort, it would waste judicial resources to


  Compare Petition, Docket Entry No. 30 at 371-83 and Brief for
289

Appellant, Docket Entry No. 33-46 at 71-90.
290
      Answer, Docket Entry No. 88 at 387-98.



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discuss these claims at any length.              court has reviewed the

pleadings, the record, and the law.            court summary finds that

Davis is not entitled to relief under AEDPA or the federal

constitution on claims 25, 26, 27, and 28.



                  VI. Certificate of Appealability

       Rule 11 of the       s Governing Section 2254 Cases requires a

district court to issue or deny a certificate of appealability when

entering a final order that is adverse to the petitioner.                   A

certificate of appealability will not issue unless the petitioner

makes "a substantial showing of the                 of a constitutional

right," 28 U.S.C. § 2253(c)(2), which requires a pet               ioner to

demonstrate "that       'reasonable jurists would find the district

court's assessment of the constitutional claims debatable or

wrong.'"   Tennard v. Dretke, 124 S. Ct. 2562, 2565 (2004) (quoting

Slack v. McDaniel,      120 S. Ct. 1595, 1604       {2000)).    Under the

controlling standard this requires a             itioner to show that

"jurists of reason could disagree with the           [reviewing]    court's

reso    ion of his constitutional claims or that jurists could

conclude the issues presented are adequate to deserve encouragement

to proceed further."       Buck v. Davis, 137 S. Ct. 759, 773 (2017)

(citation and internal quotation marks omitted).

           r a careful review of the pleadings and the applicable




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law, the court concludes that reasonable jurists would not find the

assessment       of   the    constitutional    claims   debatable    or   wrong.

Because Davis         does   not   demonstrate that his      claims could be

resolved in a different manner, a certificate of appealability will

not issue in this case. 291



                             VI. Conclusion and Order

         The court ORDERS as follows:

         1.    The Death Penalty Case Application for Post­
               Conviction Writ Of Habeas Corpus filed by Brian
               Edward Davis (Docket Entry No. 30) is DENIED, and
               this action will be DISMISSED WITH PREJUDICE.

         2.    A certificate of appealability is DENIED.

         The Clerk shall provide a copy of this Memorandum Opinion and


  The court has allowed the parties extraordinary leeway in
291

submitting lengthy briefs and other written materials in connection
with this federal habeas action. As the length of this Memorandum
Opinion and Order indicates, the court has expended considerable
time reading these papers and performing a significant amount of
independent research to be as fully informed as possible when
addressing the parties' arguments. Davis's selective discussion of
the state court proceedings and failure to address the AEDPA
standard have increased the amount of time required to adjudicate
his federal petition. Despite Davis's failure to cure procedural
defects in many of his claims, the court has spent substantial time
considering their merits in the alternative. While, because of the
sheer volume of information presented, it is not impossible that
some arguments were overlooked, the parties should assume that
failure to expressly address a particular argument in this
Memorandum Opinion and Order reflects the court's judgment that the
argument      l acked     sufficient      merit     to     w a r r ant
discussion. Accordingly, the court strongly discourages the parties
from seeking reconsideration based on arguments they have
previously raised or that they could have raised.



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Order to the parties.

     SIGNED at Houston, Texas, on this 4th day of September, 2024.



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                                                7srniAKE
                                          UNITED STATES DISTRICT JUDGE




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